Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 1 of 106




                     EXHIBIT 2
Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 2 of 106




       Baltimore Police Department Consent Decree Monitoring Team

     Compliance Review & Outcome Assessment Regarding BPD Training



                             February 2022
           Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 3 of 106



TABLE OF CONTENTS

I.      EXECUTIVE SUMMARY .................................................................................................. 1
      Summary of Findings ............................................................................................................... 1

II.     BACKGROUND ................................................................................................................... 5
      A. The Department of Justice’s Investigative Findings Regarding Training .................. 5
      B. Consent Decree Requirements ......................................................................................... 6

III. SCOPE OF THE REVIEW ................................................................................................. 8

IV.     BPD’S TRAINING ACADEMY & FUNCTION TO DATE .......................................... 12
      A. Changes to BPD’s Training Paradigm.......................................................................... 12
        1. Changes to Training Structure ...................................................................................... 12
        2. Changes to Instructional Approach ............................................................................... 14
        3. Responding to Emerging Training Needs ..................................................................... 19
        4. Changes to Training Staffing ........................................................................................ 20
        5. Changes to Training Facilities ...................................................................................... 21
        6. Incorporating Community Input & Feedback ............................................................... 22
        7. Adoption of a Multi-Stage Pilot Process for In-Person Training Programs ................. 23
      B. Implemented Consent Decree Training Initiatives ...................................................... 23
        1. Use of Force/Fair & Impartial Policing I ...................................................................... 23
        2. Stops, Searches, and Arrests/FIP II Training ................................................................ 28
        3. Body-Worn Camera Training ....................................................................................... 29
        4. Patrol Response to Behavioral Health Crises and Reports of Sexual Assault .............. 29
        5. Ethical Policing is Courageous (“EPIC”) Training ...................................................... 31
        6. Sexual Assault Investigations ....................................................................................... 32
        7. Behavioral Health Response for Dispatchers and 911 Specialists................................ 33
        8. Misconduct Investigations ............................................................................................ 33
        9. First Amendment Protected Activity ............................................................................ 34
        10.  Crisis Intervention Team (CIT) Certification ........................................................... 34
        11.  Community Policing and Quality of Life Offenses .................................................. 35
        12.  Fair and Impartial Policing III/Use of Force/First Amendment ............................... 37

 V. SUMMARY OF COMPLIANCE ASSESSMENT OF THE CONSENT DECREE’S
     SPECIFIC REQUIREMENTS REGARDING BPD TRAINING .................................. 39
   A. Paragraph 291 ................................................................................................................. 41
   B. Paragraph 292 ................................................................................................................. 42
     1. Funding of BPD’s Training Program & Academy ....................................................... 42
     2. Renovation and Updating of Training Facilities ........................................................... 44



                                                                     ii
           Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 4 of 106



      C.  Paragraph 293 ................................................................................................................. 46
        1. Adequate Number of Instructors Assigned to E&T ...................................................... 47
        2. Sufficient Number of “Qualified” Instructors............................................................... 49
      D. Paragraph 294 ................................................................................................................. 49
      E. Paragraph 295 ................................................................................................................. 53
      F. Paragraph 296 ................................................................................................................. 56
      G. Paragraph 297 ................................................................................................................. 61
      H. Paragraph 298 ................................................................................................................. 62
      I. Paragraph 299 ................................................................................................................. 63
        1. Review & Update of BPD Training Plans .................................................................... 64
        2. Needs Assessment......................................................................................................... 64
      J. Paragraph 300 ................................................................................................................. 65
        1. Data Tracking System: Development & Implementation ............................................. 65
        2. Data Tracking System: Officer Attendance & Missed Trainings ................................. 66
        3. Data Tracking System: Performance, Test, and Evaluation Data ................................. 67
        4. Data Tracking System: Supervisor Availability ........................................................... 67
        5. Data Tracking System: Adequate Resources ................................................................ 67
        6. Overall Compliance Determination .............................................................................. 67

VI.     TRAINING-RELATED OUTCOME ASSESSMENTS.................................................. 69
      A. Paragraph 459(l)(i): Rates of Completion of Approved Training and Performance
      Assessments of Evaluative Aspects of Training ................................................................... 69
      B. Paragraph 459(l)(ii): Qualitative Measurements of the Adequacy of Training ........ 72
      C. Paragraph 459(l)(iv): Training Deficiencies ................................................................. 73

VII. COMPLIANCE ASSESSMENT CONCLUSIONS ......................................................... 75

APPENDIX A.                   BUDGETS FOR BPD E&T, FISCAL YEARS 2018 THROUGH 2022 . 78

APPENDIX B.                   TRAINING FEEDBACK RUBRIC........................................................... 79

APPENDIX C.                   BPD OFFICER TRAINING EVALUATIONS, MAJOR CONSENT
                              DECREE TRAINING THROUGH DECEMBER 2021 .......................... 83

APPENDIX D.                   HIGHLIGHTS OF STUDENT OFFICER SURVEY DATA TABLES
                              BY SURVEY ................................................................................................ 94




                                                                     iii
         Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 5 of 106



I.       EXECUTIVE SUMMARY

Paragraphs 291 through 300 of the Consent Decree address the Baltimore Police Department’s
(“BPD” or “the Department”) training function generally – the overall infrastructure, resources,
and approach that the Department uses to provide training to its personnel. These requirements
relate not to any specific, substantive training program that the Decree requires. Instead, they
relate to the long-term adoption of a dynamic, new approach to effective officer training.

The Monitoring Team has conducted a compliance review, and related outcome assessments,
addressing BPD’s approach to training. The Team concludes that BPD has reached compliance
with a number of the core, general training requirements of Paragraphs 291 through 300. If and
when BPD and the City of Baltimore (“the City”) successfully provide the Department’s Education
and Training Section (“E&T”) with the civilian staffing that the Decree-required Staffing Plan
mandates, codify and implement a rigorous training instructor selection process, and transition
successfully to an enhanced training tracking platform, the Monitoring Team anticipates that BPD
will be in Initial Compliance with all of the Consent Decree’s general requirements on training.

Summary of Findings

BPD has invested substantial time, resources, and attention to upgrading dramatically the quality
and rigor of officer training. The overall quality of the Department’s training is significantly
higher than it was when the Consent Decree process began. Specifically:

     •   BPD has established and prioritized a robust, dynamic training paradigm grounded
         in scenario-based, problem-solving, and adult learning techniques. Across a host of
         training that has been provided to BPD personnel since the start of the Consent Decree,
         BPD has worked to transform fundamentally its approach to officer training. For instance:

                o Rather than using static, lecture-based instruction, E&T is now deploying a
                  dynamic training paradigm grounded in modern, adult learning techniques such
                  as group discussions, interactive learning exercises, case studies, video and
                  verbal scenarios, and role playing.

                o E-learning programs are supplementing and enhancing such in-person
                  instruction and are providing a separate, independent avenue for the
                  Department to provide professional development.

                o Rather than providing training over a single, continuous, one or two-week span
                  of instruction each year for department-wide, non-specialized officer training,
                  BPD is providing discrete training programs of shorter durations throughout the



                                                 1
    Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 6 of 106



               year. This is allowing BPD to be more responsive to identified training needs
               while providing ongoing training with less significant operational impacts.

           o A Curriculum Coordination Committee and surveys of officers are providing
             BPD with specific feedback on the quality of training and on new training
             needs.

           o A Community Training Review Committee, a group of community
             representatives, is working with BPD to attend training pilot sessions and
             provide feedback on draft curricula and training development.

           o New training initiatives are subject to an in-depth, multi-stage pilot process that
             allows for the refinement of training programs before they are rolled out across
             the Department.

           o Student officers generally must score a 100% on substantive tests taken as part
             of the training to complete the course successfully.

           o E&T asks student officers for their subjective feedback on training programs.

•   BPD has substantially upgraded its primary training facilities, transitioning from an
    inadequate, former school building in significant disrepair to modern, professional
    facilities at the University of Baltimore.

•   BPD training is benefitting from the involvement of outside instructors. Over the past
    several years, non-sworn, civilian instructors have provided instruction to officers in
    trainings addressing topics such as stops, searches, and arrests; behavioral health;
    community policing; crisis intervention; and conducting misconduct investigations.

•   BPD is fielding an adequate number of sworn instructors to provide high-quality
    instruction to Department personnel. Even as E&T and the Department lack a
    sufficiently rigorous way of detailing the instructor selection and development process, the
    Monitoring Team’s ongoing observation of training initiatives confirms that current
    instructor quality is sufficient.

•   BPD is completing and updating detailed Training Plans that identify training
    priorities and scheduling for each year.




                                             2
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 7 of 106



If and when the City and BPD meaningfully address the following issues, BPD will reach
initial compliance with the full set of the Consent Decree’s general training requirements
(Paragraphs 291 through 300):

   •   The City and BPD need to ensure that resources are available for E&T to benefit
       from the civilian staffing level that the Decree-required Staffing Plan mandates.
       E&T’s sworn staffing level is currently slightly higher than the Staffing Plan requires.
       However, while that Plan calls for 53 civilian personnel to work within E&T, only 14
       civilian positions are currently authorized.

   •   BPD’s Gunpowder range remains in deficient condition and will need to be remedied
       to comply with the Decree’s requirements regarding training facilities. Additionally,
       the indoor range that is in use at the Northeastern District is in poor condition and
       suffers from lead problems that often cause the facility to be shut down. These issues will
       also need to be addressed going forward.

   •   E&T needs to continue to enhance the quality of its initially-designed curricula and
       overall instruction across training initiatives. Even as the Monitoring Team has
       observed significant improvements in the quality of BPD’s training programs and
       instruction, initially-designed curricula submitted to the Monitoring Team and the United
       States Department of Justice (“DOJ” or “the Department of Justice”) can still require
       substantial revision to reach the level of quality that the Decree requires. Similarly,
       although many instructors are providing high-quality instruction, some instructors are
       continuing to deviate from the content of curricula and from the adult learning techniques
       that are at the core of BPD’s new training paradigm.

   •   BPD needs to develop and implement a more rigorous process for selecting training
       instructors. Although the quality of instruction has been sufficient, E&T does not
       currently operate according to a formally established process for selecting instructors. To
       ensure that Consent Decree requirements about the review of prospective instructors’ past
       performance are met, a specific protocol for instructor selection needs to be established,
       implemented, and sufficiently documented.

   •   E&T needs to formalize its process for identifying training needs and priorities.
       Although the Monitoring Team can identify many instances where analysis of departmental
       performance and needs is informing training priorities, the process is currently more ad
       hoc than the Consent Decree requires.

   •   BPD needs to develop a system for rigorously tracking training deficiencies. To ensure
       that the Department timely addresses the instructional needs of officers, both on an



                                                3
Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 8 of 106



individual and organization-wide basis, the Department needs to develop a system for
identifying, logging, tracking, and addressing training deficiencies, needs, and
opportunities. A better system for flagging and addressing training deficiencies will also
allow for better, more robust tracking of information necessary for the outcome assessment
required by Paragraph 459(l)(iv).




                                        4
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 9 of 106



II.    BACKGROUND

A.     The Department of Justice’s Investigative Findings Regarding Training

The Department of Justice’s investigation of BPD concluded that the Department’s “deficient
training . . . contributes to [a] pattern and practice” of unlawful and unconstitutional policing.1

First, DOJ determined that “[o]fficers have not been properly trained on numerous important
topics, from the use of force and de-escalation to stops, searches, and arrests, to how to supervise
and investigate misconduct.”2 The DOJ’s findings letter describe, within the context of major
substantive areas of concern, the way that training deficiencies, along with other issues,
contributed to the problematic pattern of performance described.

Second, and even more fundamentally, DOJ indicated that its “observations of training programs,
review of internal documents, and conversations with BPD personnel revealed that training
deficiencies within the department arise from foundational issues in BPD’s overall approach to
training.”3 Among other foundational challenges, DOJ cited:

       •   “[T]he Department’s indifferent attitude toward[] its training program.”4 DOJ
           observed that BPD failed to appropriately emphasize training, with many
           officers having received “no training beyond Maryland’s basic requirements,”
           and “training personnel . . . subject to being pulled from their training duties to
           other tasks.”5

       •   BPD’s deficient training infrastructure. This included “inadequate staff,”
           “outdated and ill-repaired” training facilities, and the lack of “mechanisms to
           track officer attendance and performance” in training programs.6

       •   BPD’s need to provide better “real world” training focused on “building
           officers’ skills.”7




1
  DOJ Findings Letter at 130.
2
  Id.
3
  Id. (emphasis added).
4
  Id. at 131.
5
  Id.
6
  DOJ Findings Letter at 131.
7
  Id.

                                                 5
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 10 of 106



B.      Consent Decree Requirements

Consistent with DOJ’s two general findings on training – (1) that BPD provided inadequate
training across a host of critical substantive areas, and (2) that BPD’s overall approach to and
infrastructure for training was inadequate – the Consent Decree contains two general classes of
requirements on training.

First, the Decree requires BPD to provide specific types of training on particular subjects or
regarding specific policies. For example, paragraphs 166 through 168 detail training on use of
force that BPD must provide. Per the Consent Decree, and as the following sections recount in
detail, BPD revises and implements required training “in consultation with the Monitor and DOJ.”8
This includes review and discussion of proposed curricula, feedback on pilot sessions of new
training initiatives, and ongoing monitoring and auditing of in-progress training initiatives. Under
the terms of the current Monitoring Plan, as well as prior Monitoring Plans, BPD certifies to the
Court when Decree-required training initiatives have been completed.

Second, the Consent Decree outlines separate requirements relating to “Training Generally.”9
Rather than relating to any specific substantive area or topic (like use of force or crisis
intervention), these general provisions address the overall training function within BPD. Most
broadly, the Consent Decree commits the City of Baltimore to ensuring that BPD “establish[es]
and prioritize[s] a robust training program to ensure that officers and other employees gain full
understanding of BPD policies, legal requirements, and practical policing techniques.”10

Paragraphs 291 through 300 set forth a number of elements dealing not with any particular training
program or initiative but, instead, with the training function within BPD overall – that is, the overall
approach to training that BPD, through its Training Academy, provides its officers. This report
elsewhere considers, in depth, BPD’s current compliance with the following general Consent
Decree requirements:

        •   “The City will ensure that BPD’s training program and Academy are reasonably
            funded.”11
        •   BPD will create, implement, and update a plan for “renovating and updating
            training facilities,” including “information technology resources.”12
        •   “BPD will ensure that an adequate number of qualified instructors are assigned



8
  Dkt. 2-2 ¶ 295.
9
  Id. at 100.
10
   Id. ¶ 291.
11
   Id. ¶ 292.
12
   Id. ¶ 292, 299.

                                                   6
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 11 of 106



           to the training academy.”13
       •   BPD will develop and maintain a “written Training Plan for comprehensive in-
           service and supplemental training” and for the Field Training Officer (“FTO”)
           program that contain a number of specific elements.14
       •   “BPD will ensure that best practices in adult learning, scenario-based training,
           and problem-solving practices . . . are incorporated into training delivery.”15
       •   “BPD will . . . assess instructor qualifications and testing materials.”16
       •   “BPD will ensure that all instructors responsible for training are proficient in
           their subject matter and are qualified,” including consideration of “an officer’s
           performance evaluations, past performance as a police officer, and disciplinary
           history” before being selected to be an instructor.17
       •   “BPD will actively seek out and retain qualified instructors from outside BPD
           to supplement the skills of its in-house training staff . . . . ”18
       •   BPD will create and maintain a “training data tracking system” that inventories
           information about officer attendance, completion, and performance at BPD
           training.19

Separately, the Decree sets forth specific outcome measurements regarding training, which include
evaluation of: (1) “[r]ates of completion of approved training and performance assessments of
evaluative aspects of training; (2) “[q]ualitative measurements of the adequacy of training,
including assessments by officers, feedback from instructors, and evaluations by civilian
reviewers”; (3) “[q]ualitative and quantitative assessments of the FTO program . . . ”; and (4) “[t]he
frequency that training deficiencies are identified through investigations, internal reviews,
complaints, disciplinary proceedings, civilian oversight, and other mechanisms.”20 (CD 459(l)).




13
   Dkt. 2-2 ¶ 294.
14
   Id. ¶ 294.
15
   Id. ¶ 295.
16
   Id.
17
   Id. ¶ 296.
18
   Dkt. 2-2 ¶ 297.
19
   Id. ¶ 300.
20
   Id. ¶ 459(l).

                                                  7
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 12 of 106



III.    SCOPE OF THE REVIEW

This assessment is a combined compliance review and outcome assessment. The Monitoring Team
has previously described the Consent Decree’s distinction between these two types of assessment:

        The Consent Decree requires the Monitoring Team to conduct both compliance
        reviews and outcome assessments. Compliance reviews are . . . evaluations of BPD
        performance in different areas of the Consent Decree. They are conducted with an
        eye toward determining how far BPD has come, and how far it still needs to go, to
        achieve compliance with [particular] Consent Decree requirements . . . .

        Outcome assessments, by contrast, are [largely] quantitative assessments designed
        to determine whether the reforms required by the Consent Decree in each area are
        having a tangible, measurable impact [overall]—whether, independent and apart
        from BPD’s progress toward compliance with [any specific] Consent Decree
        requirements, policing is changing in the real world . . . . 21

This report is a compliance assessment of Paragraphs 291 through 300 of the Consent Decree,
which address BPD training generally. Accordingly, this review and assessment focuses not on
the specifics, or adequacy, of any particular substantive training program but, instead, on the
Department’s long-term adoption of the approach to officer training that the Decree requires. This
report likewise does not evaluate BPD’s compliance relating to its Field Training Officer Program
and the requirements of Paragraphs 301 and 302, which will be the subject of a separate, future
assessment.

However, even as the scope of this assessment is on the training function generally within BPD,
the major means of implementing new and renewed approaches to training is through particular
training curricula, programs, and initiatives. Consequently, this report must reference and discuss
the various Decree-required training initiatives that BPD has completed to date to determine, for
instance, if the Department has adopted “adult learning, scenario-based, and problem-solving”
training approaches22 or if instructors are adequately “proficient in their subject matter.”23

From a formal perspective, the widely-cited Kirkpatrick Model, which dates to the 1950s, posits
four levels of evaluation for any training initiative:

        •   Level 1: Reaction. The degree to which participants find the training
            favorable, engaging, and relevant to their jobs.

21
   Dkt. 279-1 at 22–23.
22
   Dkt. 2-2 ¶ 295.
23
   Id. ¶ 296.

                                                8
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 13 of 106



       •   Level 2: Learning. The degree to which participants acquire the intended
           knowledge, skills, attitude, confidence, and commitment based on their
           participation in the training.
       •   Level 3: Behavior. The degree to which participants apply what they learned
           during training when they are back on the job.
       •   Level 4: Results. The degree to which targeted outcomes occur as a result of
           the training . . . .24

All in-person, Consent-Decree-required training has incorporated evaluations during instruction to
address Level 1 and Level 2, including substantive tests and post-instructional surveys. These
Levels of evaluation are geared most closely to the nature and quality of the training programs
themselves – in this case, what officers learn and how they view the training.

The purpose of any professional training is to positively impact individual performance in the real
world in the performance of that person’s day-to-day job duties. Levels 3 and 4 of the Kirkpatrick
Model speak to the extent to which training is effective—whether officers are actively applying
in the real world what they learned during training and whether the training is achieving its
intended objectives.

Levels 3 and 4 are primarily the subject of the Monitoring Team’s other compliance reviews and
outcome assessments. For instance, the extent to which officers are applying training on BPD’s
new use of force policies in the field, and the extent to which the training is reducing the incidence
of the impermissible use of force, are subjects of the Monitoring Team’s in-progress Use of Force
Compliance Review & Outcome Assessment.

Section IV of this assessment inventories BPD’s many training efforts over the past several years,
describes BPD’s progress and innovation with respect to overhauling and revitalizing its core
education and training capabilities, and evaluates Kirkpatrick Model Level 1 and Level 2 efficacy
for completed in-person training as a way of gauging the extent to which BPD’s new training
paradigm is being successfully implemented. That is, this report reviews the training that BPD has
implemented over the past several years to assess what it means, in aggregate, about the extent to
which BPD has adopted the “best practices”25 necessary for establishing the “robust training
program”26 that the Decree requires.



24
        Kirkpatrick    Partners,      Our    Philosophy,    The     Kirkpatrick       Model,
https://www.kirkpatrickpartners.com/Our-Philosophy/The-Kirkpatrick-Model (last visited Sep. 2,
2021); see generally James D. Kirkpatrick & Wendy Kayser Kirkpatrick, Kirkpatrick’s Four
Levels of Training Evaluation (2016).
25
   Dkt. 2-2 ¶ 295.
26
   Id. ¶ 291.

                                                  9
        Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 14 of 106



Section IV’s account of BPD’s progress to date takes into account the Monitoring Team’s and
DOJ’s ongoing monitoring of various training initiatives to date. The Monitoring Team and DOJ
– and the Court – have recognized that providing all BPD officers with training is a resource-
intensive endeavor. Substantial resources would indeed be wasted if the Monitoring Team and
DOJ were not actively involved, from the beginning stages of curriculum development through the
provision of training, in providing BPD with real-time monitoring, evaluation, and feedback on
the quality and sufficiency of training instruction.

As memorialized in each annual Monitoring Plan, the Monitoring Team and DOJ have for all
Decree-required training provided feedback on training curricula and have approved the final
version of such curricula. Thus, at least on paper, the Monitoring Team and DOJ have both found
BPD’s Decree-required training curricula to date to be satisfactory and consistent with the Decree’s
requirements, including those relating to the use of adult learning techniques, scenario-based
instruction, and problem-solving approaches.27

Likewise, Decree-required training has been the subject of community review and feedback. This
includes feedback obtained during two public comment periods, during which proposed training
curricula are made available and community input sought. As the following sections of this report
recount, BPD has also formed a Community Training Review Committee, comprised of
community representatives, to receive condensed pilots of proposed training courses and provide
input, feedback, and suggestions for improvement. Consequently, at least with respect to the
written lesson plans, the Baltimore community has been involved in the development and
refinement of BPD’s Decree-required training.

Section IV therefore memorializes BPD’s prior progress in finalizing training curricula consistent
with required, new approaches, including the involvement of the community in the development
of training initiatives. It recounts the efforts that the Department has made to transform its
approach to officer training. However, it also considers, for the first time formally, the degree to
which training is having an impact on officers, based on officer evaluations of the training and
their demonstrated knowledge development.

Section V systematically considers the Decree’s requirements, in paragraphs 291 through 300,
regarding training generally. Drawing on the history of BPD’s evolution set forth in Section IV,
Section V provides additional quantitative and qualitative evaluations designed to determine
whether BPD is in compliance with all material requirements of the paragraphs relating to the
training function.

Section VI reports on the outcome assessments that Paragraph 459(l) requires. It should be noted
here that BPD’s progress regarding the FTO program is outside the scope of this assessment.

27
     See id. ¶ 295.

                                                10
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 15 of 106



Accordingly, the “quantitative and qualitative assessments” of the program outlined in paragraph
459(l)(iii) will be conducted when Paragraphs 301 and 302 of the Decree – which outline the
substantive requirements regarding the FTO program – are assessed.




                                              11
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 16 of 106



IV.    BPD’S TRAINING ACADEMY & FUNCTION TO DATE

Because the Department of Justice found “foundational issues in BPD’s overall approach to
training,”28 the Consent Decree requires that BPD adopt an overhauled, reinvigorated approach.
This section reports on the various ways that BPD has endeavored to change its basic training
paradigm – from providing infrequent, static training in one- or two-week blocks to providing on
an ongoing basis more frequent, dynamic training that utilizes best practices in adult education. It
then discusses the various training initiatives that the Department has implemented as it has
adopted this revised approach to training.

A.     Changes to BPD’s Training Paradigm

       1. Changes to Training Structure

Prior to the Consent Decree, BPD personnel “received all in-service training on all topics within a
single” one- or “two-week period each year”29:

       This means that all officers have undergone all of their required in-service training
       during a single [one- or two-]week period at some point during a calendar year.
       When officers complete that two-week block of training, they do not attend any
       further training until the next calendar year.30

This “single, all-topic in-service program”31 posed particular challenges to Consent Decree
implementation. First, because new policies can only become effective once officers receive
adequate training on them, the old training approach risked “substantially delay[ing]
implementation of the policy revisions required by the Consent Decree.”32 Second, the older
approach risked an overly protracted period between officers receiving training on upcoming
policies and those policies becoming effective – and officers “not effectively retain[ing] adequate
knowledge of those new requirements.”33

The prior “annual, all-at-once” training impeded BPD in other fundamental ways beyond Consent
Decree implementation. First, with sporadic opportunities for instruction, BPD lacked
mechanisms to quickly communicate the Department’s expectations, guidelines, and policies. For

28
   DOJ Findings Letter at 130.
29
   Dkt. 178-1 at 17. The Monitoring Team understands that, prior to the DOJ’s investigation,
annual in-service training was typically one week in duration. During the DOJ investigation, BPD
provided two weeks of training in at least one or two years.
30
   Id. at 52.
31
   Id. at 18.
32
   Id. at 52.
33
   Id.

                                                12
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 17 of 106



instance, if the Department identified a particular in-person training need in February of a given
calendar year, that priority typically would need to wait until January of the following calendar
year – with all BPD officers receiving training on that priority only before the end of December of
the following year. Under such a scenario, the Department would need to wait nearly two years
for an identified training need to be addressed across all relevant personnel.

Second, the Monitoring Team heard from a variety of BPD officers that the single training block
posed a significant staffing challenge. “[O]fficers were out for longer blocks of time, which posed
a clear impediment to shifting resources when needed to respond to public safety emergencies.”34
The disruption of having regular personnel “out” for training for two continuous weeks also led
officers to delay completing their training, resulting in disproportionate demand for training at the
end of the calendar year.

Third, many BPD personnel noted that two weeks of continuous training reduced the ability of
officers to retain new information or practice newly acquired skills. As a result, there were
recurring concerns about the overall effectiveness of BPD’s training initiatives.

As of 2020, BPD has been using a different overall structure for providing ongoing training to
BPD officers. Now, training is provided “in rolling, multi-day blocks on different topics
throughout the year.”35 The Monitoring Team observed in July 2019 that “this staggered model
for annual training does not require more training time than BPD’s old model.”36 It simply
provides training “in one or two day segments, rather than all at once.”37

BPD’s Training Plans, covering both Consent Decree-required and other officer training for each
of the years 2019, 2020, and 2021, have adopted this approach. For example, BPD’s 2021 Training
Plan provided for, among other things:

       •   Two days of training on Behavioral Health Awareness and Patrol Sexual Assault
           Investigations, to be provided to all BPD personnel between January 4 and April 1,
           2021;
       •   Two days of training on Community Policing & Lesser Offenses for all BPD personnel
           between May 3 and September 3, 2021;
       •   Two days of training for all sworn personnel on Fair & Impartial Policing, Use of Force,
           and First Amendment issues between September 6 and December 31, 2021; and
       •   A multi-day, State of Maryland-required course on No-Knock Search Warrants,


34
   Third Semiannual Report at 30.
35
   Dkt. 178-1 at 52–53.
36
   Third Semiannual Report at 30.
37
   Id.

                                                 13
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 18 of 106



           provided on another timeframe during 2021.38

The rolling, staggered approach to training appears, based on BPD’s Training Plans, to be allowing
BPD to complete significant, in-person instruction for all BPD personnel within a focused span of
time (months) rather than requiring at least one calendar year to ensure common expectations and
knowledge across all sworn personnel. It also allows for the Department to provide – in addition
to the training that every sworn member receives – specialized training for specific units.

       2. Changes to Instructional Approach

A primary focus of BPD’s Education & Training Section has been to “develop[] a less lecture-
focused, more facilitative, increasingly scenario-based model for in-person training at the
Academy.”39 This model of instruction aligns with the Consent Decree’s core requirement that
“best practices in adult learning, scenario-based training, and problem-solving practices . . . are
incorporated into training delivery.”40

Contemporary theories of adult education are grounded in the particular needs and attributes of
adult learners. Specifically, adults “learn new knowledge, understandings, skills, values, and
attitudes most effectively when they are presented in the context of application to real life
situations.”41 Within the context of policing, this has necessitated a turn away “from the
mechanical, militaristic and behavioral aspects of” traditional law enforcement training and toward
“training programs that inform police how to identify, respond to, and solve problems” and that
realistically connect with the real-world experiences of officers and the communities that they
serve.42

Police departments embracing adult educational techniques proceed from the assumption that
training should be “as experiential, interactive[,] and participatory as possible,”43 and thus should
feature techniques that may include:

       •   Large- and small-group discussions44;

38
   BPD, Baltimore Police Department Education & Training Section: Master Training Plan, 2021
Edition at 15.
39
   Dkt. 178-1 at 18.
40
   Dkt. 2-2 ¶ 295.
41
   Michael L. Birzer, “The Theory of Andragogy Applied to Police Training,” 26 Policing 29, 33
(2003) (quoting M. Knowles, The Adult Learner: A Neglected Species 61 (1990)).
42
   Id. at 34.
43
   Id. at 36.
44
   Cynthia L. Lewis, Federal Bureau of Investigation, “Discussion as a Strategy for Educating Law
Enforcement       Officers,”  FBI     Law      Enforcement      Bulletin     (June    6,    2019),



                                                 14
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 19 of 106



       •   Knowledge acquisition through interactive learning activities (rather than passive
           lectures);
       •   “[S]elf-directed group discussions,” with instructors facilitating “critical discussion”45;
       •   The use of real-world case studies; and
       •   “[S]imulation exercises and problem-solving activities.”46

Studies have concluded that this type of dynamic, interactive, and real-world-focused training has
been demonstrated to be both more effective than traditional instructional approaches and rated
more highly among law enforcement officers.47

Importantly, BPD has actively sought and received outside assistance and expertise as it has looked
to change is training paradigm. In 2018 and again in 2020, BPD sent “two cadres of BPD staff to
attend training at the LAPD [Los Angeles Police Department] Training Academy,”48 which,
pursuant to a Consent Decree in the 2000s, developed a training paradigm that “prioritizes active
student participation.”49 LAPD also sent personnel to BPD to provide training to potential BPD
training instructors.50 Additionally, BPD’s engagement of non-sworn personnel – including an
Academic Director, curriculum writers, and civilian law instructors51 – is further evidence of the
Department’s commitment to harnessing outside expertise as it grows its training capacity.

The instructional paradigm upon which BPD has focused is one that “is far less lecture-based and
far more interactive, using videos from real world events, case studies, hypothetical scenarios, role
playing, and group discussions that make learning more engaging and practical.”52 For example,
the Department’s required training on its new use of force policies engaged officers in a variety of
learning activities, including but not limited to:

       •   Open-ended discussion prompts in lectures (rather than passive lectures) so that large-
           group, substantive discussions are learner-involved;
       •   Viewing videos of real incidents and prompted group discussions in which officers
           analyze whether the force would be consistent with BPD policy;
       •   Discussion and analysis of verbal scenarios;

https://leb.fbi.gov/articles/featured-articles/discussion-as-a-strategy-for-educating-law-
enforcement-officers.
45
   Michael L. Birzer, “The Theory of Andragogy Applied to Police Training,” 26 Policing 29, 35
(2003).
46
   Id. at 36.
47
   See, e.g., Robert F. Vodde, Andragogical Instruction for Effective Police Training (2009).
48
   Dkt. 178-1 at 53.
49
   Id.
50
   Id.
51
   Third Semiannual Report at 31; Dkt. 342-1 at 28.
52
   Third Semiannual Report at 31.

                                                 15
        Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 20 of 106



          •   Small-group discussions about various aspects of policy and procedure; and
          •   Scenario-based instruction in which E&T staff instructors simulate members of the
              public, with additional staff grading student officer performance and providing
              feedback.

This approach to training also involves substantially more evaluation. With respect to student
officers, substantive tests and exams are geared toward ensuring that officers attain a sufficient
level of knowledge about the topics, policies, and procedures addressed in training initiatives. For
Consent Decree trainings subsequent to the initial Use of Force Training, where 80% was a passing
score for some introductory e-learning modules on new policy requirements, BPD personnel have
generally needed to score 100% on evaluations to successfully complete all requirements. For
non-Consent Decree training required by the State of Maryland, student officers must score a 70%
per Maryland Police and Correctional Training Commissions (“MPCTC”) standards.

Meanwhile, BPD is asking officers about their subjective impressions of the training, so that the
Department might continually improve the quality and utility of training. E&T has also
implemented mechanisms for evaluating and providing feedback to E&T facilitators on the quality
of their classroom instruction. For instance, E&T’s instructional development specialist, conducts
ongoing observations of training, provides formal evaluations of instructors, and gives ongoing
feedback.

The Monitoring Team’s Decree-required Comprehensive Re-Assessment of BPD in September
2020 found that BPD had “made substantial progress toward satisfying the Consent Decree’s
general training requirements,” including in its “approach to instruction.”53 The Monitoring Team
has not been alone in identifying BPD’s progress with its training function. “In April 2021, in
recognition of its accomplishments, the Academy was one of only six academies selected
nationwide, through a highly competitive process, by the International Association of Directors of
Law Enforcement Standards and Training” – supported by the DOJ’s COPS Office – “to
participate in the Academy Innovations project,” which “seeks to foster evidence-based training
methods for law enforcement with the objective of establishing national best practices.”54

BPD has also implemented a contemporary, e-learning platform, first PowerDMS and, as of late
2021, a platform called Acadis. As the Monitoring Team summarized in its Third Semiannual
Report:

          For certain subjects, e-learning will be paired with, and serve as a prerequisite for,
          in-class instruction; for other subjects, e-learning will be the primary method of
          training delivery. E-learning will focus on the core requirements of revised

53
     Dkt. 342-1 at 26.
54
     Dkt. 414-1 at 20.

                                                   16
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 21 of 106



       policies, freeing up in-class instruction for opportunities to apply the policies in
       practice.55

In this way, e-learning serves at least three purposes under BPD’s rebooted training approach. The
first is to provide a mechanism for the Department to provide quick, timely instruction to officers
about topics of import in a manner that is quicker and more efficient than waiting to provide in-
classroom training – that is, e-learning as an alternative, where appropriate, for in-person
instruction. The second is to provide a new forum for ongoing, refresher training – that is, e-
learning as a supplementary mechanism for reminding officers about various policies, procedures,
or expectations. The third is to provide a new mechanism for officers to receive foundational
information about upcoming in-person instruction – or e-learning as a new way of maximizing the
effectiveness of in-person training programs.

It should be noted that social science research has generated evidence that e-learning and in-class
training are capable of being just as effective – and embraced by police officers as a helpful
alternative and supplement to traditional instruction.56

In July 2019, the Monitoring Team reported that early e-learning curricula on search and seizure
and sexual assault investigations, respectively, were “thoughtfully craft[ed] . . . to engage officers
with essential content on BPD policy” while “laying the groundwork for the scenario-based in-
class instruction that” followed.57 In May 2021, the Team’s Sixth Semiannual Report found that
e-learning was enabling officers to “come to the classroom better prepared to engage in effective
interactive learning” and to receive “instruction on basic subjects that can be taught effectively” in
the electronic learning environment.58 As Table 1 inventories, in 2021 alone, BPD has provided
personnel with instruction on an array of topics through e-learning.

Table 1.       BPD 2021 and 2022 E-Learning Status (through February 4, 2022)
 E-learning                      Status
 Consent Decree Related
 1A protected activity           Completed
 1A public recording             Completed
 1A supervisors                  Completed


55
   Third Semiannual Report at 30.
56
   See, e.g., Brian W. Donavant, “The New, Modern Practice of Adult Education: Online
Instruction in a Continuing Professional Education Setting,” 59 Adult Education Quarterly 227
(2009).
57
   Third Semiannual Report at 31.
58
   Dkt. 414-1 at 21.

                                                 17
    Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 22 of 106



E-learning                     Status
CP lesser offenses             Completed
PIB (5 modules)                Completed
SSA supervisors                In Acadis @ 82%
Youth interrogation            In Acadis @ 82%
Complaint intake               In Acadis on 1/28/22
Performance evaluation         In Acadis on 2/8/22
Prisoner transport             In Acadis @ 58%
302 Rules & regs               In Acadis on January 21, 2022
211 NDCA                       Approved
321 ERMM                       In Acadis @ 54%
Sexual assault investigators   Completed
Sexual assault supervisors     Completed
Others
Bloodborne pathogens           Completed
CJIS security awareness        Completed
Immigration                    Completed
RMS/NIBRS                      Completed
Pedestrian safety              Completed
Proactive policing             Completed
Firing at/from vehicles        Completed
Scooter enforcement            Completed
Plainclothes policing          Completed
Medical MJ                     In Acadis @ 77%
PSP crime guns                 External @ 52%
PSP crime scene                External @ 19%
Hate crime                     In Acadis @ 65%
Language access                In Acadis @ 57%



                                             18
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 23 of 106



 E-learning                      Status
 Dog encounters                  Under final collaboration
 ERPO                            Draft under review
 SUV hybrid                      Under development
Source: BPD

       3. Responding to Emerging Training Needs

BPD has established several mechanisms for identifying potential training needs and priorities.
First, the E&T Commander is a member of the Department’s Performance Review Board (“PRB”).
That body reviews use of force incidents and identifies training needs within the context of various
real-world use of force encounters. Although these training needs are often specific to individual
members who were involved in particular incidents, a charge of the PRB is to identify themes or
patterns that might suggest a broader training need across the Department. The E&T Commander
brings back such systemic training needs to E&T.

Second, the Audits & Inspections function generates regular data and reports on BPD performance
– including on use of force, constitutional policing, search and seizure, and other topics. E&T
indicates that it tracks this information and is in regular communication with Audits & Inspections
so that it can be aware of themes or patterns in member performance that suggest a training need
across the agency.

Third, BPD maintains a Curriculum Coordination Committee (“CCC”). This Committee meets at
a designated time on Fridays: (1) in the formative stages of a new in-service course, to provide
overall guidance and strategic direction on the development of new training initiatives; (2) to
troubleshoot issues that arise in the context of particular training initiatives or within E&T’s
functions generally; and (3) to plan each year’s training priorities and course offerings. Because
most continuing education staff are not teaching in-class trainings on Fridays, they are able to
participate directly with the CCC.

Additionally, E&T is conducting surveys of members to help identify the issues and topics that
personnel would find most useful for upcoming training. For instance, in November 2021, some
1,550 BPD personnel responded to a survey that asked “how valuable training . . . would be” on a
variety of topics. Identified areas of interest for future training included enhanced firearms skills
(with 76% of officers saying the training would be “very valuable”), using BPD databases (69%),
civil liability (68%), and wellness and coping with stress (65%). E&T is exploring mechanisms
for offering these and other topics as possible ‘elective” courses that officers may select in addition
to Decree- and State-required training.



                                                  19
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 24 of 106



E&T has also institutionalized a process for periodically reviewing all existing BPD policies and
identifying all instances where the policy includes or implicates a training requirement. These
ongoing, often annual requirements are incorporated into each year’s training planning.

       4. Changes to Training Staffing

The Monitoring Team’s First Semiannual Report, in July 2018, observed that the Training
Academy was “understaffed.”59 In its subsequent semiannual report, the Team affirmed the lack
of adequate training staffing,60 indicated that it believed “the City’s failure to confirm a new
Commissioner explain[ed], at least in part, BPD’s delay in providing adequate resources and
personnel to the Training Academy.”61

The Monitoring Team’s Second Semiannual Report in January 2019 reported that the size of
BPD’s “Academy staff . . . is shockingly small.”62 It reported that, at the time, BPD had just “one
sergeant and two officers, working with one lieutenant” to address ongoing, in-service training of
current BPD officers, including Consent Decree-required training.63 “A separate, small
complement of approximately five officers focuses on Academy training for new recruits.”64
Although no definitive formula exists for determining how many personnel are necessary for
effectuating high-quality training for new and current officers alike, “[a]s one of DOJ’s subject
matter experts asserted, and consistent with the Monitoring Team’s own experience and
observations, there are departments of 150 or 200 officers” with “full-time training staffs that are
larger than BPD’s” was as of January 2019.65

By June 2019, the Monitoring Team reported that BPD had “assigned ten additional, full-time
personnel to the Academy,” with “in-service training their primary responsibility.”66 Even as the
Monitoring Team saw this staffing increase as a noteworthy improvement, it noted in its Fourth
Semiannual Report in January 2020 that BPD’s new “commit[ment] to providing its officers with
scenario-based, skill-building, problem-solving instruction on different topics at different times
throughout the year” would likely necessitate permanently “increased time, resources, and
personnel” to the E&T.67 The Monitoring Team observed that this greater, long-term commitment
to E&T staffing represented a “new normal.”68

59
   Dkt. 126-1 at 77.
60
   Dkt. 178-1 at 17.
61
   Id. at 15.
62
   Id. at 55.
63
   Id.
64
   Id.
65
   Dkt. 178-1 at 55.
66
   Third Semiannual Report at 31.
67
   Dkt. 279-1 at 32.
68
   Id. at 31.

                                                20
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 25 of 106




BPD also proceeded to hire non-sworn personnel to assist in the development and provision of
training. For instance, in 2019, it hired an Academic Director to oversee the design of new training
curricula and assist in the direction of E&T overall.69 In 2020, BPD “added two curriculum
writers” and “several new civilian law instructors.”70 Additionally, after a search process that
involved both internal and external candidates, BPD selected a civilian to lead E&T’s Legal
Instruction Unit. In early 2022, E&T reclassified a sworn position in its Records & Compliance
Unit, which addresses internal records and compliance with state training mandates, as a civilian
position.

The Monitoring Team’s Comprehensive Re-Assessment in September 2020 concluded that BPD
had “made substantial progress toward satisfying the Consent Decree’s general training
requirements regarding . . . staffing . . . . ”71 As Section V discusses in greater detail, the Education
& Training section had a staff of 74 individuals as of November 2021.

In addition to a previously deficient number of assigned training personnel, BPD’s prior practice
of “detailing” training staff to patrol functions negatively impacted E&T and the Department
overall. The practice took personnel technically assigned to E&T and compelled them to work in
other capacities, which functionally reduced the resources available to the Department’s training
function. In January 2019, the Monitoring Team observed that such “detailing depletes an already
inadequate number of Academy officers.”72

As of 2021, E&T staff is not being detailed to other units as an ongoing practice. Although they
may be asked to work special events or during incidents of significant impact, such as protests,
E&T reports that it is not being “singled out” for such coverage. For instance, in early January
2022, BPD command staff reached out to all special units (i.e., all non-patrol units) to learn what
personnel might be temporarily loaned to patrol to compensate for a significant, COVID-related
shortage among patrol personnel. (As of early January 4, 2022, approximately 300 officers could
not work due to COVID isolation or quarantine.). E&T indicated that it could spare one squad
from the Firearms Training Section (a sergeant and five officers) because they did not have any
recruits at the range during the subsequent several weeks. E&T indicates that, absent these
unprecedented circumstances, the practice of extended detailing of E&T personnel out of training
has concluded.

        5. Changes to Training Facilities



69
   Dkt. 342-1 at 28.
70
   Id.
71
   Id. at 26.
72
   Dkt. 178-1 at 56.

                                                   21
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 26 of 106



In January 2019, the Monitoring Team observed that “[t]he absence of an adequate physical space
for training continues to be an impediment to the professionalization and effectiveness of BPD’s
training function.”73 At the start of the Consent Decree, BPD’s Academy was “located in a run-
down school building with substandard amenities” – including a lack of climate control (heat in
the winter, cooling in the summer), poor water quality, and substandard maintenance of facilities.74
As the Monitoring Team observed, “[t]he facilities send precisely the wrong message to BPD
personnel about the professionalism that is expected of them.”75

In early 2019, “BPD and the City began exploring options for moving the Academy to newer, more
modern facilities at the University of Baltimore.”76 By April 2020, “all training functions have
transitioned to the new facilities.”77 In its Comprehensive Re-Assessment of BPD in 2020, the
Monitoring Team observed that it was “hard to overstate the significance” of BPD’s move to
modern instructional facilities at the University of Baltimore.78 The Monitoring Team’s
Comprehensive Re-Assessment concluded that BPD had “made substantial progress toward
satisfying the Consent Decree’s general training requirements regarding Academy facilities . . . .
”79

       6. Incorporating Community Input & Feedback

Another critical element of BPD’s new training paradigm is the Department’s development, “for
the first time . . . [of] training on core subjects in collaboration with community members.”80

In 2019, BPD “established a panel of community representatives – the Community Training
Review Committee (“CTRC”) – to provide input on training curricula as they are being
developed.”81 In practice, this “panel of community representatives”82 has attended pilot sessions
of major in-person training programs and provided feedback on draft curricula, including training
on stops, searches, and arrests; fair and impartial policing; and community policing. Separately,
for each Consent Decree-required training, BPD has posted draft curricula for community feedback
on two occasions. BPD has considered and incorporated such feedback as appropriate across a
variety of training initiatives.


73
   Id.
74
   Third Semiannual Report at 33.
75
   Id.
76
   Id. at 34.
77
   Dkt. 342-1 at 28.
78
   Id.
79
   Id. at 26.
80
   Id. at 29.
81
   Third Semiannual Report at 34.
82
   Dkt. 279-1 at 30.

                                                22
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 27 of 106



Separately, there has been substantial stakeholder and community involvement in the development
of 2021 Community Policing training and Youth Interactions training, to be delivered in 2022.
External behavioral health advocates and experts have been involved in the development of
behavioral health-related training via the Collaborative Planning and Implementation Committee
(“CPIC”), “a working group comprised of individuals and organizations representing a wide range
of disciplines and perspectives who seek to improve encounters between law enforcement and
people with behavioral health disorders.”83

       7. Adoption of a Multi-Stage Pilot Process for In-Person Training Programs

Beginning with the Use of Force/Fair & Impartial Policing I Training in 2019, BPD has been
“using a new, comprehensive, multi-stage pilot process.”84 This provides “instructors the
opportunity to revise and fine-tune training” before a training program is launched.85

B.     Implemented Consent Decree Training Initiatives

BPD has implemented the new approach to training described in Section A in the context of
numerous courses on specific subjects. This section details the significant training initiatives that,
using the new paradigm explained above, BPD has conducted pursuant to the Decree’s specific
requirements.

       1. Use of Force/Fair & Impartial Policing I

The Use of Force and Fair & Impartial Policing I Training was “the first product of BPD’s effort
to overhaul its approach to curriculum development.”86 The training was designed around two
primary components. First, a three-module e-learning course introduced “the substantive
requirements of BPD’s . . . revised use of force policies.”87 All sworn BPD personnel needed to
“successfully complete the e-learning component by scoring a 100% on an evaluation” in order to
“qualify[] to attend” the second, in-class component.88 The two-day, in-class instruction
employed:

       [A]dult learning techniques—including roleplaying and group discussions
       prompted by videos of real-world police encounters and by hypothetical cases—to

83
    City of Baltimore, City of Baltimore Consent Decree, Collaborative Planning and
Implementation Committee, https://consentdecree.baltimorecity.gov/collaborative-planning-and-
implementation-committee (last visited Feb. 7, 2022).
84
   Dkt. 342-1 at 29.
85
   Id.
86
   Third Semiannual Report at 33.
87
   Id. at 32.
88
   Id.

                                                 23
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 28 of 106



       enhance officer understanding of BPD’s use of force policies and, crucially, to
       allow officers the opportunity to practice applying those policies to real-world
       situations.89

The training “provide[d] officers with guidance on, among other things”:

           •   “[U]se of force decision-making under a Critical Decision-Making Model”;
           •   “[D]e-escalation techniques”;
           •   “[T]he use of various weapons and techniques”;
           •   “[T]he relationship between subject threat or compliance level and the
               permissible force (if any) authorized in response”; and
           •   “[W]riting use of force reports.”90

In addition to use of force topics, the training addressed “certain requirements” of the Consent
Decree relating to fair and impartial policing.91 Specifically, it offered instruction “on the
existence of implicit bias and the importance of police legitimacy.”92 As other sections of this
report clarify, subsequent Consent Decree training courses similarly incorporated pertinent aspects
of fair and impartial policing.

BPD received substantial input, feedback, and technical assistance from the Monitoring Team and
Department of Justice during the curriculum design stage. At the conclusion of this process, BPD
submitted a final version of the training curriculum to DOJ and the Monitoring Team. Per the
Second-Year Monitoring Plan, DOJ “indicate[d] its formal approval,”93 and the Monitoring Team
likewise approved the curriculum in a filing to the Court.

Subsequently, BPD proceeded trough a “multi-stage pilot process that allowed Training Academy
staff to refine the curriculum following pilot sessions before rolling it out Department-wide” –
something that, again, had not been a standard operating procedure within E&T prior to the
Decree:94

       BPD conducted the pilot sessions with Training Academy instructors and officers
       from across the Department, with the Monitoring Team, DOJ and Training
       Academy and Consent Decree Implementation Unit personnel observing and
       providing feedback. Importantly, the pilot process included presenting parts of the

89
   Id.
90
   Id.
91
   Third Semiannual Report at 32.
92
   Id.
93
   Second-Year Monitoring Plan at 25.
94
   Third Semiannual Report at 33.

                                                24
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 29 of 106



       training to, and obtaining feedback from, a newly-formed Community Training
       Review Committee, which consists of one resident from each of the City’s nine
       police districts, plus representatives from various community organizations.95

BPD began providing in-person instruction on Use of Force and Fair and Impartial Policing in
June 2019.96 BPD certified to the Court in November 2019 that all eligible (i.e., active and full-
duty) BPD personnel had completed the training, with the exception of 20 members who were
referred to the Department’s PIB for investigation.97

In its Fourth Semiannual Report in January 2020, the Monitoring Team observed that “[t]he
completion of this training . . . marks a significant milestone” in part because it “demonstrated”
the Department’s “ability to conduct training in a new, dynamic way.”98

Additionally, the Monitoring Team observed that BPD’s “collaboration with the CTRC” on the
curricula, as well as “the opportunities it is providing for [general] public feedback on drafts of
training curricula,” signaled a “noteworthy commitment to encouraging community participation
. . . . ”99

Table 2.     BPD Officer First Substantive Exam Attempt Scores, Use of Force E-Learning
                       Mean First Median First Mode First Score Range
                       Attempt        Attempt        Attempt
                       Score          Score          Score
         Module 1      92.1           90             100 (46.9%) 0 - 100
         Module 2      90.6           90             100 (45.3%) 0 - 100
         Module 3      95.6           100            100 (66.6%) 0 - 100
Source: BPD
Notes: Module 1: n=2,170; Module 2: n=2,171; Module 3: n=2,167.

For the introductory e-learning modules that provided an initial overview of the specific
requirements of BPD’s new force policies, officers demonstrated a sufficient level of substantive
engagement with covered material. As a threshold matter, officers needed to obtain a sufficiently
high test score to proceed from introductory e-learning to the in-class components of training.
Table 2 considers the initial scores of BPD officers on tests focusing on officers’ substantive
knowledge of the new use of force policies. Although initial test scores ranged from 0% to 100%,
the average test score was at least 90% for all three e-learning modules, with 100% the most

95
   Id.
96
   Id.
97
   Dkt. 260, Ex. 1 at 2.
98
   Dkt. 279-1 at 29.
99
   Id. at 30.

                                                25
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 30 of 106



common first-attempt score for all three.

For all three modules, nearly all BPD officers ultimately scored a 100%. BPD records indicate
that the average final test score on module 1 was 99.5%, 98.8% on module 2, and 99.8% on module
3. It should be noted that, although some BPD officers who failed to score 100% were nonetheless
permitted to proceed to the in-person component of this Use of Force/FIP I training, BPD has
invested additional effort on ensuring that officers obtain the 100% passage rate, which data sets
from subsequent and more-recent training initiatives by and large (though not uniformly)
demonstrate.

Finally, it did not take BPD officers who failed to obtain a passing score on their initial attempt
very long to demonstrate the necessary level of proficiency. The average number of exam attempts
for module 1 was 1.7, with officers needing between one and six attempts to pass the test. The
average number of exam attempts for module 2 was 1.8, with officers needing between one and
five attempts to pass. For module 3, the average number of exam attempts was 1.4, with officers
taking the test between one and four times to secure the passing score of 100%.

BPD officers provided their subjective feedback on the in-person course. On a simple scale of one
to four, with four being the best rating, officers on average ranked the training a 3.5, with more
than half of participating officers (55%) giving the training a top rating of four. Table 3 aggregates
particular officer impressions – with approximately three of four officers saying that the Use of
Force training “clearly explained policy updates” and “helped me to explain how uses of force
relate to police legitimacy.”

Table 3.        Summary of BPD Officer Feedback, Use of Force/FIP I Training (Percentage
                Agreeing with Statements About Training)
 This course . . .                Police   Sergeant Lt./Captain Major or      Overall
                                  Officer                        Higher
 Clearly explained policy         996      244        88         25           1,354
 updates relating to uses of      (78.0%) (74.2%) (72.1%)        (86.2%)      (77.0%)
 force.
 Helped me to explain how uses 901         238        79         24           1,243
 of force relate to police        (70.6%) (72.3%) (64.8%)        (82.8%)      (70.1%)
 legitimacy.
 Increased my confidence in       822      211        76         24           1,135
 applying de-escalation skills in (64.4%) (64.1%) (62.3%)        (82.8%)      (64.5%)
 the field.
 Helped me to explain how the     867      227        80         26           1,201
 critical decision making model (67.9%) (69.0%) (65.6%)          (89.7%)      (68.3%)
 promotes member actions that



                                                 26
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 31 of 106



 uphold the Department’s core
 values.
 The “Red Man” use of force         885        226         82            23             1,217
 scenario challenged me to          (69.3%)    (68.7%)     (67.2%)       (79.3%)        (69.2%)
 think critically and to apply
 new use of force policy to a
 realistic situation.
 Number of Surveys                  1,277    329      122                29             1,759
                                    (100.0%) (100.0%) (100.0%)           (100.0%)       (100.0%)
Source: BPD
Note: One Officer Trainee and one Other Staff are included in the overall total but not listed in
individual columns.

A large portion of BPD officers ranked individual training modules on BPD’s updated use of force
policies, and scenario-based training applying these policies, as useful.

Table 4.       BPD Officer Feedback by Course Module/Topic, Use of Force/FIP I Training
               (Percentage of Officers Indicating they Found Course Topic “Useful”)
                                  Police      Sergeant Lt./Captain Major or            Overall
                                  Officer                               Higher
 Use of Force and Police          896         232         84            26             1,239
 Legitimacy                       (70.2%) (70.5%) (68.9%)               (89.7%)        (70.4%)
 Use of Force Policy 1115         970         263         99            27             1,361
 Updates                          (76.0%) (80.0%) (81.1%)               (93.1%)        (77.4%)
 De-escalation                    954         257         92            26             1,330
                                  (74.8%) (78.1%) (75.4%)               (89.7%)        (75.6%)
 Critical Decision Making         874         238         82            29             1,224
 Module                           (68.4%) (72.3%) (67.2%)               (100.0%)       (69.6%)
 Baton Re-certification Training 765          218         84            25             1,093
                                  (60.0%) (66.3%) (68.9%)               (86.2%)        (62.1%)
 Live Use of Force Scenario       1,005       285         101           27             1,419
                                  (78.7%) (86.6%) (82.8%)               (93.1%)        (80.7%)
 Number of Surveys                1,277       329         122           29             1,759
                                  (100.0%) (100.0%) (100.0%)            (100.0%)       (100.0%)
Source: BPD
Note: One Officer Trainee and one Other Staff are included in the overall total but not listed in
individual columns.

In free responses to a question asking officers what they would do differently to improve the
training, “nothing” and “more scenarios” were the most frequent responses.


                                                27
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 32 of 106



       2. Stops, Searches, and Arrests/FIP II Training

The next major in-service program conducted pursuant to the Consent Decree, “after a four-month
suspension of in-service training caused by the pandemic,” focused on stops, searches, and arrests
and fair and impartial policing.100 The two-day in-class training, supported by an introductory e-
learning program:

       [A]ddressed policies on voluntary contacts, field interviews, stops, arrests,
       interviews/interrogations, weapons pat-downs, and searches, as well as policies on
       foot pursuits, most effective/least intrusive response, custody, transport, and
       booking. The training also incorporated instruction on previously approved policies
       on fair and impartial policing.101

Overall, the curricula emphasized that BPD officers may, and should, conduct stops and searches
so long as they have the requisite, articulable legal justification for doing so. Importantly, a
civilian legal instructor conducted the training along with sworn BPD personnel.

BPD completed the training in December 2020.102 It reported that, of 2,266 sworn personnel
eligible to complete the training, 2,191 had done so – with the difference accounted for by those
officers on “extended absences from service including medical leave, disciplinary suspension, and
military leave.”103

As the Monitoring Team previously reported, the Team and DOJ “randomly audited training
sessions and confirmed that it properly reinforced BPD’s SSA and impartial policing through
interactive facilitated, scenarios and role plays that, as in the real world, incorporate the
requirements of multiple policies at once.”104

Officer performance on substantive examinations administered on both days of the two-day
training suggest that learning objectives were satisfied. On day 1, the average score of initial
examinations was about 91% across all officers; on day 2, the average was slightly less than 90%.
All officers eventually satisfied the requirement of receiving a 100% score. Although it took as
many as 15 attempts, the average number of attempts needed to receive a 100% was slightly more
than two.

BPD officers again provided their subjective feedback on the course. On a scale of one to five,

100
    Dkt. 414-1 at 42.
101
    Id.
102
    Id.
103
    Dkt. 381-1 at 1.
104
    Dkt. 414-1 at 42.

                                               28
        Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 33 of 106



with five corresponding to “strongly agree” and one corresponding to “strongly disagree,” BPD
officers seemed to generally agree that the training helped to facilitate their ability to follow BPD’s
new policies on stops, searches, and arrests. As Table 5 also summarizes, officers appeared to find
the training engaging, with some 43% of officers “strongly” agreeing that the training was
engaging and officers, on the whole, giving the training an average ranking of 4.16 (on the one-to-
five scale) on this dimension.

Table 5.      BPD Officer Feedback, SSA/FIP II Training
                                       Number of Average                    Median         Most
                                       Surveys     Response                 Response       Frequent
 On Likert scale 1 – 5 (1= Strongly                (mean)                                  Response
 Disagree and 5 = Strongly Agree):                                                         (mode)
 Based on these lessons, I know how to 1,955       4.08                     4              4 (46.9%)
 apply the SSA policies.               (100%)

 I feel confident to conduct stops in        1,955           4.07           4              4 (46.3%)
 line with SSA policies and law.             (100%)

 These Lessons were engaging.                1,937           4.16           4              5 (43.3%)
                                             (100%)
Source: BPD

In open-ended questions about what officers liked most about the training, officers most frequently
cited instructors (404 times) and scenario(s) (240 times). Notable number of respondents also
cited “discussion” (97 times) and the presence of “attorney” (71 times) and “lawyer/law instructor”
in the training (69 times) (referring to the participation of qualified civilian legal instructors in the
in-class training). When asked what officers liked least about training, the most recurring response
was “nothing” (335 references).

          3. Body-Worn Camera Training

BPD developed an electronic learning program for the Department’s updated body-worn camera
units. The DOJ and Monitoring Team approved the training in February 2020, and BPD certified,
in April 2020, that 2,093 of its 2,240 members had completed the training – with those failing to
complete the training referred to PIB.105

          4. Patrol Response to Behavioral Health Crises and Reports of Sexual Assault

“In March 2021, BPD successfully completed” training “for all officers on behavioral health crisis


105
      Dkt. 311-1 at 2.

                                                   29
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 34 of 106



response and response to reports of sexual assault.”106 In light of public health restrictions, BPD
delivered the interactive, classroom-style training via Zoom.107 The Monitoring Team previously
observed that “[t]he ability of the Training Academy and CPIC’s Training Committee to pivot and
effectively conduct such training for all officers remotely using interactive technology is
commendable.”108

This training provided an overview of a number of topics associated with behavioral health
awareness and crisis intervention.109 In the area of sexual assault reports, [t]he training covered
key concepts like trauma-informed interviewing techniques and the effect of trauma on a victim’s
memory.”110

In May 2021, BPD certified that it completed the training, with 2,106 of 2,393 sworn personnel
completing the course. Of the remainder, most were not eligible to complete the training because
of long-term leave. Eleven members who “were in active, full-duty status . . . failed to successfully
complete the training” and were referred to PIB for investigation.111

Officer performance on tests administered during the training suggest that learning objectives were
met. Initial test scores averaged about 89%. Some 99.74% of all BPD officers eventually received
a 100% score, with officers requiring, on average, three attempts to secure a 100% score.112

BPD officers provided their feedback on the course. Officers overwhelmingly ranked the training
facilitator’s ability to deliver the instructional content as high for both the behavioral health and
the sexual assault investigation material. More than three-quarters (78%) of the 1,916 officers
who completed an evaluation gave behavioral health instructors a topic rating of five (on a Likert
scale of one to five, with one corresponding to “poor,” three corresponding to “neutral,” and five
corresponding to “excellent”). A full four out of five officers (80%) gave sexual assault
investigation instructors a top mark of “excellent.” Average responses were 4.70 for behavioral
health instructors and 4.73 for sexual assault investigations instructors.

BPD officers responded favorably to the interactive, Zoom-based format. More than three-
quarters (76%) of officers said that they in fact preferred the Zoom format to in-person instruction.
Officers who preferred Zoom said that they found the remote learning option more “convenient,”
provided “less distraction,” was better because it required “no travel time,” and was a better

106
    Dkt. 414-1 at 21.
107
    Id. at 77.
108
    Id. at 60.
109
    See Dkt. 405 at 1 (summarizing subject areas covered in curriculum).
110
    Dkt. 414-1 at 77.
111
    Dkt. 405-1 at 1.
112
    BPD data suggests that at least one of the final scores were as low as 75%. The Monitoring
Team is not clear as to why the data set reflects some final scores as less than 100%.

                                                 30
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 35 of 106



experience because they could take the training from the more “comfortable environment” of
“home.” Ten percent of officers said they preferred in-class instruction, with the remaining 14%
of participating officers saying that they did not have a preference between the training modes.
Officers who expressed a preference for in-person training cited “technology” or “computer
issues,” as well as a desire for “more personal” and “engaging” interactions during training.

Overall, BPD officers in open-response feedback referenced “instructors” (185 times) and the
“Zoom training” or “remote learning” (118 times) as primary reasons that they enjoyed the
training. When asked about suggestions or recommendations as to what could change,
participating officers overwhelmingly used the opportunity to emphasize the course was “good
training” or a “great class” (802 times).

       5. Ethical Policing is Courageous (“EPIC”) Training

The Ethical Policing is Courageous (“EPIC”) Training:

       [I]s a peer intervention program that trains officers to be “active bystanders”—to
       intervene with fellow officers to prevent misconduct before it occurs and to stop
       misconduct as it occurs. At its core, EPIC is an officer wellness program. It is
       designed to keep officers from getting into situations that could ruin their careers
       in law enforcement or adversely affect their physical and mental health.113

“In April 2021, BPD successfully completed one-day [in-person] EPIC training for all officers”114
other than those who were not eligible for the training due to extended leave.115

The Sixth Semiannual Report indicated that:

       The Monitoring Team, as well as Judge Bredar, observed various EPIC classes.
       The instructors have been confident in the materials they are teaching and fully
       vested in the EPIC program and its benefits for both BPD members and the
       communities they serve.116

Officer performance on tests administered during the training suggest that learning objectives were
achieved. On the initial administration, the average officer score was 86.8%. The most common
initial score for officers who took the test was 90% (attained by slightly less than one-third (32%)
of officers). Ultimately, nearly every officer obtained a 100% final score on the exam, with 80%

113
    Dkt. 414-1 at 86.
114
    Id. at 21.
115
    Dkt. 413-1 at 1.
116
    Dkt. 414-1 at 86–87.

                                                31
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 36 of 106



as the lowest final score accepted. On average, officers needed to take the test twice to score the
desired 100%.

The National Police Foundation has conducted an independent evaluation of BPD’s EPIC
program. Specifically, it “conducted an officer survey immediately post-training[,] which resulted
in 1,753 responses”117 out of 2,029 identified training participants. The Foundation reported that,
among other findings:

       •   “More than 80% of the respondents indicated that they thought the training was likely
           to promote ethical conduct (81%)”;
       •   “A large majority of respondents indicated a greater likelihood of intervening after
           completing the training (82%) and having confidence in their ability to intervene with
           peers (86%) and supervisors (79%)”;
       •   “Officers indicated willingness to intervene across a wide variety of scenarios,
           including: confronting fellow officers who had violated departmental policy, appeared
           to be making an unjustifiable search, or were demonstrating unusual behavior or
           moods. They were also likely to refer coworkers to behavioral health services.
           Agreement with these questions ranged from 73% to 84%”; and
       •   “Officers indicated considerable confidence in their ability to intervene in a wide
           variety of situations. They were most confident in responding to co-workers using
           excessive force (86%) and in peer-to-peer verbal altercations.”118

Ultimately, the Foundation concluded that “[o]fficers generally perceived the training as useful
and likely to promote ethical conduct.”119 It noted that “[l]onger-term follow-up” would be
beneficial with respect to officer intervention with supervisors and providing further scenario-
based opportunities to develop and practice intervention skills, as a number of officers suggested
would be beneficial.120

       6. Sexual Assault Investigations

In October 2020, “BPD completed a two-day course for all Sex Offense Unit detectives, as well
as for all detectives assigned to the Family Crimes Unit, the Child Abuse Unit, and the Sex
Offender Registry Unit.”121 The Monitoring Team previously summarized the curriculum:

117
    National Police Foundation, “Do Something. Do the Right Thing: An Evaluation on the Impact
of         Active         Bystandership        Training”         (Sept.     11,          2021),
https://datascience.policefoundation.org/2021/09/11/epic-training/.
118
    Id.
119
    Id.
120
    Id.
121
    Dkt. 414-1 at 21; Dkt. 351-1 at 2.

                                                32
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 37 of 106




       The training used a Baltimore case study to highlight key learning points, such as
       the danger of bias and assumptions that preclude solving serious sexual assault
       crimes. It also employed role-playing, with members from the advocacy
       organization, Turn Around, acting as sexual assault victims, to give investigators
       practice with trauma-informed interview techniques.122

The Department used an outside consultant, from the Austin Police Department, to help develop
the curriculum and co-facilitate the in-class instruction.123 “The training curriculum also reflects
substantial input from the Baltimore City Sexual Assault Response Team (SART), particularly
from two SART partners—TurnAround and the Maryland Coalition Against Sexual Assault.”124

All 37 of the 40 sworn personnel required to complete the course successfully did so, with the
remaining three personnel required to take the training upon return from their approved leave.125
“SOU investigators reported being very satisfied with the training; some said it was the best they
have had at BPD.”126

       7. Behavioral Health Response for Dispatchers and 911 Specialists

As of May 2021, BPD had provided “a one-day course on behavioral health awareness and crisis
intervention for all police emergency dispatchers and 911 specialists.”127

BPD reported that all 61 of the Emergency Dispatchers in its employ completed the training, with
81 of 83 911 specialists employed by the Baltimore City Fire Department also having completed
the training.128 “[D]ispatchers and 911 specialists rated the training very highly, with many
remarking that it was more engaging than in-person training” that the Department provided
previously.129

       8. Misconduct Investigations

“In April 2021, after some delay, . . . all Public Integrity Bureau and Civilian Review Board
investigators” successfully “completed a specialized, five-day, in-person training on police
internal investigations” conducted by BPD’s Legal Affairs and an external subject-matter

122
    Dkt. 414-1 at 77.
123
    Id.
124
    Dkt. 351 at 1.
125
    Dkt. 351-1 at 2.
126
    Dkt. 414-1 at 77.
127
    Id. at 21.
128
    Dkt. 424-1 at 2.
129
    Dkt. 414-1 at 60–61.

                                                33
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 38 of 106



expert.130 BPD certified that all personnel, except one member medically retiring and another
serving as a non-investigating property officer, completed the investigator training course.131

In a survey of those who took the course, more than three out of five (61%) said that the quality of
the five e-learnings was of “high” or “very high” quality, with instruction by legal affairs (61%)
and the outside subject-matter expert (50%) rated “high” or “very high” in quality. Some 71% of
officers who took the course said that “group exercises/breakout sessions were engaging and
applied training topics.”

       9. First Amendment Protected Activity

“In April 2021, after developing the lesson plan over many months, BPD completed e-learning for
all officers on First Amendment protected activity—freedom of speech, freedom of assembly, and
freedom to observe and record official police activity.”132 The standalone e-learning training
consisted of three modules:

       The first module teaches the provisions of BPD’s core First Amendment policy,
       Policy 804, covering the right to free speech, including the right to criticize law
       enforcement, and the right to assemble and protest. The second module focuses on
       BPD’s policy regarding the observation and recording of police activity, Policy
       1016. The third module addresses supervisory responsibilities, particularly
       supervisory responsibilities during protest activity. Each module is accompanied
       by a test requiring officers to answer all questions correctly in order to complete
       the training. Collectively, the three modules provide officer comprehensive
       information on the First Amendment principles reinforced in BPD policies.133

BPD reported that 2,082 members successfully completed the training.134 “Three members were
in active, full-duty status during the delivery period of the training and failed to successfully
complete it,” with the issue forwarded to PIB for investigation.135




       10. Crisis Intervention Team (CIT) Certification



130
    Id. at 21.
131
    Dkt. 423 at 4.
132
    Dkt. 414-1 at 21.
133
    Id. at 66.
134
    Dkt. 437-1 at 2.
135
    Id.

                                                34
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 39 of 106



BPD is presently delivering “a five-day certification course for patrol officers who volunteer to
become CIT members to respond to behavioral health and other crisis-related calls for service. The
curriculum for this course was developed in collaboration with several local behavioral health
organizations that will co-facilitate the course with BPD instructors. BPD seeks to certify 30% of
its patrol membership as CIT members.”136 CIT training is ongoing and will likely continue to be
offered three to four times per year through the end of the next Monitoring Plan in February 2023.

       11. Community Policing and Quality of Life Offenses

“With substantial input from community stakeholders, BPD developed a two-day classroom
training program for all officers on community policing and responding to low-level or quality of
life offenses.”137 The “two-day, ten-module in-class curriculum” was the result of collaboration
with “over 46 participants representing 16 organizations who attended over 40 meetings over the
course of eight months.”138 Two “public comment periods” and a pilot with the Community
Training Review Committee “produced helpful feedback” on the proposed community policing
curriculum.139 The comment periods “included two virtual community policing training public
comment workshops on Zoom with breakout rooms, which attracted approximately 90 participants
for the first session and over 50 participants for the second.”140

In addition to community representatives actively working with BPD to create the curriculum on
community policing, community members – including representatives of organizations including
Reconcile Baltimore, Project Pnuema, and the Baltimore Community Mediation Center – co-
facilitate the training sessions themselves.141

The final curriculum, approved by the Monitoring Team and DOJ, addressed “topics such as
community policing as envisioned by the Plan, the history of policing in Baltimore, and a
community policing approach for dealing with lesser offenses.”142 With respect to lesser offenses,
the training provided guidance on officers choosing to “take the least intrusive law enforcement
action consistent with preserving public safety when confronted with an individual who may be
committing a low-level offense, such as loitering, open container, trespassing, failure to obey,
disorderly conduct, and marijuana possession.”143
In January 2022, BPD certified to the Court that 2,119 members had completed the Community


136
    Dkt. 414-1 at 21.
137
    Id.
138
    Id. at 73.
139
    Id.
140
    Id.
141
    Dkt. 414-1 at 73.
142
    Id.
143
    Id. at 40.

                                               35
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 40 of 106



Policing training as of December 3, 2021.144 Five eligible members who failed to complete the
training successfully were referred to PIB.145

The Community Policing training included an exam on which officers needed to score a 100% in
order to complete the course successfully. The average score on the initial administration of the
exam was 89.7%. Scores ranged from 0% to 100% on the first effort, with the largest group of
officers (32%) scoring 100 on the initial exam. Ultimately, every BPD officer who took the exam
scored 100%. It took BPD officers taking the test an average of 2.2 times to obtain this score, with
BPD officers most typically (for nearly 40% of officers) needing to take the exam twice. The
number of exam attempts ranged from one to fifteen.

For the Community Policing training, 1,437 personnel gave their consent to complete a pre-
training survey. These same personnel took a post-training survey that included some questions
common to the pre-training survey. To measure objectively the impact of the full training, a total
of 489 pre-surveys had to be excluded because they were completed on the same date as the post-
survey.146

The pre-training and post-training surveys asked 10 substantive questions that were the same on
both surveys. Table 6, below, compares the mean responses for those questions to show group-
based differences. Generally, there appears to be small improvement in understanding for most
items, with slightly larger gains in understanding what “lesser” offenses are and how to problem-
solve for policing lesser offenses. There was no group-level change in respondents’ answers to
how well they understand how to engage in daily problem solving or how prepared they are to
engage with the community informally.

Table 6.        Community Policing Pre-Training/Post-Training Comparison
                Likert Scale of 1 – 5, with 1 = Strongly Disagree, 2 = Disagree, 3 = Neutral, 4 =
                Agree, and 5 = Strongly Agree
 Question                                         Pre-Survey       Post-Survey       Difference
                                                  Mean             Mean
                                                  Response         Response
 2. I feel prepared to engage in community        4.2              4.3               +0.1
 policing.
 4. I understand how social conditions, such      4.2              4.3               +0.1
 as racism and red lining, have impacted
 Black people in Baltimore.

144
    Dkt. 474-1 at 1.
145
    Id.
146
    This administrative issue, which appeared to relate to a lack of understanding about survey
protocols among some but not all course instructors, was identified and corrected by BPD.

                                                36
        Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 41 of 106



 6. I understand my role in BPD’s community       4.2              4.3                +0.1
 policing plan.
 8. I am prepared to engage with the              4.3              4.3                No change
 community informally.
 10. I understand how to engage in daily          4.3              4.3                No change
 problem solving, such as solving small
 problems, conflict, or issues, while on duty.
 12. It is clear to me what constitutes a         4.1              4.3                +0.2
 “lesser” offense in Baltimore.
 14. I understand how to problem-solve for        4.1              4.3                +0.2
 policing lesser offenses.
 16. As a member of BPD, I understand how I       4.2              4.3                +0.1
 can formally engage with vulnerable
 populations, such as youth, LGBTQ people,
 those experiencing homelessness, and those
 living with a mental illness or substance use
 disorder.
 18. I understand how to apply the SARA           4.0              4.1                +0.1
 Model as part of my role in successfully
 implementing BPD’s community policing
 program.
 20. I know how to document my community          4.0              4.1                +0.1
 policing activities in CAD.
Source: BPD

Although the changes between average pre-training and post-training survey responses were not
substantial, the training did appear to modestly improve officer knowledge and confidence on
topics related to community policing. The relatively high pre-survey responses also may have
provided relatively modest room for improvement.

          12. Fair and Impartial Policing III/Use of Force/First Amendment

Beginning in September 2021, BPD has been conducting “a two-day in-class training for all
officers . . . address[ing] advanced topics on use of force, fair and impartial policing, and First
Amendment protected activity.”147 As with other training initiatives, the curriculum was issued
for two public comment periods and proceeded through an extensive piloting process in the
summer of 2021. BPD engaged a subject-matter expert, retired from the Stockton Police
Department and with experience in the National Initiative for Building Community Trust and


147
      Dkt. 414-1 at 21.

                                                 37
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 42 of 106



Justice initiative, to assist in the construction of the curriculum and to provide training and
guidance to Academy instructors assigned to facilitate the training.

As of January 20, 2022, the FIP III/Use of Force/First Amendment Training was still being
provided to BPD personnel. E&T currently projects that the training will be completed by March
3, 2022.




                                              38
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 43 of 106



V.     SUMMARY OF COMPLIANCE ASSESSMENT OF THE CONSENT DECREE’S
       SPECIFIC REQUIREMENTS REGARDING BPD TRAINING

This section addresses BPD’s compliance with the training requirements in Paragraphs 291
through 300 of the Decree. To avoid repetition, the following discussion frequently references
Section IV-A, which describes BPD’s work to improve the training function, and Section IV-B,
which describes specific training initiatives that E&T has conducted pursuant to Decree
requirements.

The Consent Decree Monitoring Team is charged with assessing and reporting on whether the
requirements of the Consent Decree have been implemented. The Monitoring Team, in
collaboration with BPD and DOJ, has previously adopted and used a standardized way of
characterizing BPD’s current status across Consent Decree implementation. Of particular
significance for this assessment are the rankings within Level “4” of this system, as the Monitoring
Team’s current compliance reviews are taking place when BPD has entered a phase of
implementation in which Initial Compliance is possible (i.e., the Department has moved to the
stage of seeking to translate new policies, practices, protocols, and systems into practice):

       0 - Not Assessed: The Monitoring Team has yet to assess if the City/Department
       has made progress or complied with the requirement.

       1 - Not Started: The City/Department has not yet demonstrated progress toward
       implementing the requirement, possibly in order to work on other, necessary
       projects.

       2 – Planning/Policy Phase: The City/Department is addressing the planning
       and/or policy provisions for the requirement.

       3 – Training Phase: The City/Department is addressing the training provisions for
       the requirement, based on approved policy.

       4 – Implementation Phase: The City/Department is in the implementation phase
       for the requirement, having developed any required plan or policy and conducted
       any required training, but has not yet demonstrated compliance with the
       requirement.

       4a – Implementation - Not Assessed: The City/Department has initiated the
       implementation phase for the requirement, but the Monitoring Team has not yet
       assessed the City/Department’s progress in implementation.




                                                39
        Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 44 of 106



          4b – Implementation - Off Track: The City/Department is not making
          satisfactory progress toward compliance with the requirement.

          4c – Implementation - On Track: The City/Department is making satisfactory
          progress toward compliance with the requirement.

          4d – Implementation - Initial Compliance: The City/Department has
          demonstrated compliance with the requirement but has not sustained compliance
          for the required time period specified in Paragraph 504 of the Consent Decree.

          5 – Sustained Compliance: The City/Department has complied fully with the
          requirement and has demonstrated sustained compliance by consistently adhering
          to the requirement over time, as defined in Paragraph 504 of the Consent Decree.

Determining whether BPD has reached Initial Compliance with any material requirement of the
Consent Decree involves evaluating whether a given requirement “is being carried out in practice
by BPD.”148 To make such determinations, the Monitoring Team considers the following:

          1. The quality of BPD’s performance across a material span of time, number of
             incidents/events, and number of officers. Successfully carrying out a requirement in
             practice requires more than meeting expectations on one day, in one case or event, or
             for one officer. Instead, it requires that BPD adhere to Decree requirements across a
             material span of time, number of incidents, and number of officers. In this way, isolated
             compliance does not establish “Initial Compliance” in practice. At the same time,
             however, isolated non-compliance does not, by itself, eliminate the possibility of
             systemic compliance. The issue is whether, across time, events, and people, BPD is,
             in aggregate, sufficiently doing what the Decree requires.

          2. The severity or significance of deviations from Consent Decree requirements,
             BPD policy, and/or law. In its focus on accountability, supervision, and mechanisms
             for fostering critical self-analysis within BPD, the Consent Decree expressly
             contemplates that a BPD in compliance with the Consent Decree will need to engage
             with departmental and officer performance that is deficient in some way.
             Consequently, the Monitoring Team in its compliance reviews considers not simply
             whether BPD’s performance has deviated in some instances from the Decree’s
             requirements but also the severity or significance of that deviation.

          3. The extent to which BPD is identifying and appropriately addressing problematic
             performance. Consistent with the Decree, the Monitoring Team’s compliance reviews

148
      Dkt. 2-2 ¶ 506.

                                                  40
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 45 of 106



           consider whether, when BPD or the department has deviated from policy, law, or
           Decree requirements, the Department has identified the deviation and, if so, if it has
           appropriately addressed the issue. With respect to Consent Decree implementation and
           meaningful change, the Department is in a different condition if a policy deviation is
           identified and appropriately addressed than if the deviation goes unnoticed and
           unaddressed.

       4. BPD’s progress over time. Where possible, the Monitoring Team aims to situate its
          evaluation of BPD’s performance in terms of progress over time. Steady improvement
          over time suggests positive, meaningful adoption of Consent Decree requirements in a
          way that erratic swings in performance over time may not.

A.     Paragraph 291

       The parties agree that proper, effective and comprehensive training is a necessary
       prerequisite to constitutional policing. The Parties agree that BPD must establish
       and prioritize a robust training program to ensure that officers and other
       employees gain full understanding of BPD policies, legal requirements, and
       practical policing techniques. The Parties recognize that under state law
       certification of training may be subject to approval by the Maryland Police
       Training and Standards Commission (the “MPTSC”).

Paragraph 291 primarily provides a statement of intent with respect to the appropriate role of the
training function within BPD. As a general matter, it obligates BPD to “establish and prioritize a
robust training program.”

Section IV of this report and the discussion of the various requirements of Paragraphs 292 through
300 below provide a specific accounting of the many steps that BPD has taken to overhaul and
strengthen its training function since the start of the Consent Decree process. The discussion below
of BPD’s compliance with Paragraphs 292 through 300 also inventories the many ways that the
Department has worked to “establish and prioritized a robust training program.”

Even as BPD still has a variety of Consent Decree-required training initiatives to complete, and
even as some specific requirements warrant attention, the Monitoring Team concludes that BPD
has, for a material length of time across a sufficient number of the training programs detailed in
Section IV, sufficiently “establish[e]d and prioritize[d] a robust training program” that allows
personnel to “gain [a] full understanding of BPD policies, legal requirements, and practical
policing techniques.” Consequently, the Team concludes that BPD is in Initial Compliance with
Paragraph 291.




                                                41
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 46 of 106



B.     Paragraph 292

       With BPD’s assistance, the City will ensure that BPD’s training program and
       academy are reasonably funded. In consultation with the Monitor, the City, and
       DOJ, BPD will create a plan for renovating and updating training facilities in a
       cost-effective and reasonable manner to accomplish the training requirements of
       this Agreement, including the provision of information technology resources. All of
       the training requirements of this Agreement are set forth in the Training Matrix,
       Appendix A. The information technology resources required by this Agreement
       shall be determined in accordance with Section XII, Technology.

       1. Funding of BPD’s Training Program & Academy

Although the resources expended on officer training are not alone dispositive in determining
whether BPD is complying with its training commitments – as the Department could be spending
substantial sums on inadequate, deficient, or counter-productive training – the Consent Decree
requires that BPD’s training function be funded at a “reasonable” level.

The number of officers within BPD, the number and nature of Decree- and State-required training
initiatives, BPD’s ongoing training plans, the requirements of the Decree-required BPD Staffing
Plan, the variety of specific or specialized trainings that BPD’s organizational structure (i.e., the
maintenance of various specialized units with specific job functions) requires, and the various
other Decree requirements related to officer training (such as those pertaining to information
technology and data systems) inform whether BPD has committed “reasonable” funding to the
training function.

The Team observes that no set formula or threshold exists for how large a Department’s training
function should be. Certainly, no Court has outlined a specific formula, threshold, or test, and,
although the Department of Justice has made findings about the inadequacy of training in
departments like BPD, it has not provided detailed guidance on the level of resource expenditure
that would be sufficient, appropriate, or “reasonable.”

Nevertheless, it appears as though the core inquiry is whether the City and BPD is providing
resources to E&T necessary for BPD to provide the nature, quality, type, scope, and duration of
in-service and Academy instruction consistent with the Decree.

Within the context of the Consent Decree, BPD has been investing substantially more financial
resources in training and E&T than in the past. As Table 7 summarizes, and as Appendix A details
more specifically, BPD’s training budget surged significantly in fiscal year 2020, with E&T’s
budget allocation nearly doubling. Subsequent years have largely maintained this funding level,



                                                 42
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 47 of 106



with budget allocations reduced by about 10% from the high in 2020. When setting aside the
budgetary line item for “grants, subsidies & contributions,” which was abnormally high in fiscal
year 2020, the fiscal year 2021 budget decreased by only 0.6% from 2020, and the fiscal year 2022
budget decreased by slightly less than 3% from 2021.

Table 7.       BPD E&T Budget Summary, Fiscal Years 2018 – 2022
                   FY18         FY19         FY20           FY21                     FY22
 Contractual
                       $1,744,065       $1,896,140       $1,839,028 $3,214,149 $3,248,914
 Services
 Equipment*            $ 11,478         $ 11,742         $ 26,296 $ 28,285 $ 33,661
 Grants, Subsidies
                       $ 313,079        $ 316,760        $2,178,966 $ 583,442 $ 727,500
 & Contributions
 Materials       &
                       $ 322,485        $ 464,425        $ 479,352 $ 487,172 $ 495,454
 Supplies
 Other Personnel
                       $2,001,391       $1,939,261       $4,363,240 $3,923,755 $3,857,685
 Costs (Benefits)
 Salaries              $3,450,789       $3,404,184       $7,156,442 $6,118,254 $5,747,937
 Transfers**            $ 45,990         $ 47,048                  –                – $1,744,065
 TOTAL                 $7,889,277       $8,079,560 $16,043,324 $14,355,057 $14,111,151
Source: BPD
Notes: * This category corresponds to equipment charges of $4,999 or less.
** This category corresponds to costs listed as “unallocable debits” for fiscal years 2018 and 2019.

Importantly, the sustained, elevated budget in fiscal years 2021 and 2022 appears to reflect the
institutionalization of enhanced investment in training – the embrace of a “new normal” of
increased attention and resources to training, which the Monitoring Team and Court have
previously stressed. The drivers of the increased spending on training in fiscal years 2020 through
2022 are predominantly higher salaries and personnel costs. Although resources earmarked for
salaries and personnel costs have been reduced somewhat since fiscal year 2020, they remain at
substantially higher levels compared to fiscal years 2018 and 2019. This represents an encouraging
ongoing commitment to providing E&T with greater resources.

As explained in the discussion of BPD’s compliance with Paragraph 293 below, however, E&T is
not yet staffed at the levels that the Decree-required Staffing Plan mandates. E&T is actually
staffed above Staffing Plan requirements when it comes to sworn personnel – 65 authorized
positions as of December 10, 2021, or 7 sworn members above requirements in the July 2021
Staffing Plan Update. It remains substantially understaffed with respect to civilian personnel – 14
authorized positions as of February 9, 2022 compared to 53 positions required by the Staffing Plan.

It appears from the Monitoring Team’s review of the Staffing Plan, E&T’s current staffing, and


                                                43
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 48 of 106



the E&T budget, as well as conversations with various BPD and City stakeholders, that the primary
impediment to E&T reaching the civilian personnel levels required by the Staffing Plan remains
financial resources devoted to E&T in the City budget. That is, it does not appear that BPD’s
deficient civilian staffing in the training function is a result of BPD receiving funding but electing
to use it elsewhere, or of civilian positions being authorized and funded but not successfully filled
by qualified candidates. Instead, it is a matter of the City not allocating sufficient financial
resources to fully fund the necessary contingent of civilian training staff.

As this report also discusses elsewhere, the Consent Decree expressly contemplates the
incorporation of civilians into the training function as a means of increasing the quality of
instructional expertise and enhancing the general capacity of BPD’s training function. The
Staffing Plan determined how many civilian personnel are required based on realistic assumptions
about workload, training requirements, and the specific tasks and responsibilities of various roles
within E&T.

The Monitoring Team concludes that BPD has made great strides in institutionalizing a long-term,
elevated commitment to officer training, which E&T’s budget notably reflects. However,
principally because the civilian positions that the Staffing Plan requires have not yet been funded,
the City has not yet ensured that the training function within BPD is adequately funded.
Ultimately, although the City and BPD have commendably invested significantly in the training
function, which the Monitoring Team concludes is reflective of a compliance score of
Implementation – On Track, the City is therefore not yet in compliance with the Consent
Decree with respect to the reasonableness of funding to BPD’s training function. When the
City provides funds to BPD, and BPD makes funds available to E&T, to hire and employ the 49
total civilian personnel that the July 2021 Staffing Plan Update requires, the City and BPD will be
in initial compliance with the reasonable funding requirement in Paragraph 292.

       2. Renovation and Updating of Training Facilities

As summarized in Section III, when the Consent Decree process began, the Academy’s physical
facilities, a former school, were deficient and substandard. This included deficient climate control,
water quality, and facility maintenance. These deficiencies often detracted from the learning
experience, with student officers, for instance, needing to wear several layers of warm clothing for
instruction in the winter months and struggling at times to hear instructors and fellow participating
officers during instruction in the summer over the din of small, window-based air conditioning
units that failed to properly cool classrooms.

As of April 2020, BPD transitioned all of its training functions (other than vehicle and firearms
instruction) to new facilities at the University of Baltimore. Thus, rather than attempt to “renovate”
or retrofit the existing facilities, BPD elected to reach an agreement with the University of



                                                 44
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 49 of 106



Baltimore to use its space on an ongoing basis. This has allowed the Department to benefit from
clean, modern, and appropriate facilities and infrastructure. The Monitoring Team’s review of and
experience with the new facilities confirm that they are sufficient to meet Consent Decree training
requirements in the coming years.

Consequently, BPD’s transition from its prior, deficient training facilities to contemporary
facilities at the University of Baltimore continues to mark “substantial progress toward satisfying
the Consent Decree’s general training requirements regarding Academy facilities . . . . ”149

However, BPD’s training facilities encompass more than the spaces in which E&T provides
classroom-based instruction. The Department’s Gunpowder range was established “in 1989 with
the understanding that this would be a short-term solution to the [D]epartment[’]s needs for a range
facility.”150 The buildings at the premises were constructed of modular, pre-fabricated building
components expected, according to BPD, to last between 20 and 25 years. The facilities are well
past their life expectancy.151

A number of significant issues have arisen with the Gunpowder range. These include:

       •   Water damage and dampness to floor joists, causing unstable flooring and “weakening
           skirting” that “allows woodland creatures to enter, make home and often nest below”
           buildings;
       •   Mold;
       •   Leaking roofs, including caved roofs in some locations;
       •   “HVAC and electrical components” requiring replacement;
       •   “Bathroom facilities” that are “well beyond replacement”;
       •   Insufficient administrative space; and
       •   Firearm safes that are “not to the standards that are desired to keep ammunition and
           additional firearms properly secured.”

The Monitoring Team, Department of Justice, and Court have all visited the Gunpowder range,
including in the latter half of 2021. Observations revealed a decrepit, unprofessional environment
urgently in need of replacement. Conversations with personnel who are assigned to the range
confirmed ongoing issues with the cleanliness and odor. After viewing the range infrastructure,
the Court observed that BPD would not be considered to be in compliance with the requirements
of the Consent Decree unless and until the Gunpowder facilities range are improved. The
Department itself has observed that the Gunpowder range “is an essential component to the


149
    Dkt. 342-1 at 26.
150
    BPD, “Gunpowder Range Current Conditions” at 1.
151
    Id.

                                                45
         Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 50 of 106



training on an officer[’]s first introduction to the department and a continual training throughout
their career” and that the Gunpowder range should be upgraded or replaced in order to provide
officers with an appropriately “professional learning environment.”152

The City and BPD have made notable strides toward compliance with Paragraph 292 by moving
E&T operations to the University of Baltimore. To reach initial compliance, they must now focus
on remedying ongoing deficiencies with the Gunpowder range. Unless and until the Gunpowder
range facilities are reasonably addressed, BPD will not be in compliance with Paragraph 292.

Separately, the indoor range that is in use at the Northeastern District station is an OSHA hazard
with significant lead problems that often cause the facility to be shut down. This severely hampers
the Department’s firearms qualification efforts, and BPD will also need to address this deficiency
with the indoor range in order to comply with Paragraph 292.

The Monitoring Team observes here that the language of Paragraph 292 speaks only of BPD
establishing a “a plan for renovating and updating training facilities” – and not of actually
completing such “renovating and updating.” However, as with the other paragraphs in the training
section, Paragraph 292 must be read as providing specific mechanisms for BPD to “establish and
prioritize a robust training program to ensure that officers and other employees gain full
understanding of BPD policies, legal requirements, and practical policing techniques,” as required
by Paragraph 291. That is, as the Court appears to have recognized by asserting that BPD cannot
reach compliance until the Gunpowder and indoor range facilities are improved, compliance with
Paragraph 292 means, in practice, successful implementation of the “plan” for training facilities.

Separately, Paragraph 292 also includes “the provision of information technology resources”
within the ambit of the “training facilities” that BPD must “update.” This report’s discussion of
BPD’s current state of compliance with Paragraph 300, below, addresses the extent to which
“information technology resources” are aiding in the implementation of the Department’s new
training paradigm. There, the Monitoring Team concludes that BPD is in compliance but that
sustaining such compliance is dependent on the full and successful transition to a new training data
and information tracking system (called Acadis). Therefore, compliance with Paragraph 292 is
also dependent upon BPD’s successful transition to tracking necessary data and information
on officer training within the new Acadis system.

C.         Paragraph 293

           BPD will ensure that an adequate number of qualified instructors are assigned to
           the training academy.


152
      Id. at 5.

                                                 46
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 51 of 106



       1. Adequate Number of Instructors Assigned to E&T

Currently, BPD’s Education & Training Section is authorized for 77 personnel. This includes 65
sworn personnel and 12 civilian employees. Seven positions were vacant as of December 10, 2021
(including three sworn positions and four civilian positions).

According to BPD’s July 2021 Staffing Plan,153 E&T’s goals are 111 total staff – including 58
sworn and 53 civilian personnel.154 The numbers in this most recently updated Staffing Plan
include an increase in E&T personnel from the prior version of the Staffing Plan which relate to
the addition of the Crisis Response Team (“CRT”) Unit to E&T (increasing the number of sworn
personnel in E&T by 6 members) and the addition of sworn supervisors to the Firearms Section
(increasing the number of sworn personnel in E&T by a further 5 members).155 The number of
civilian personnel assigned to E&T also increased by 4 employees.156

Table 8.      BPD Staffing Plan Goals for E&T vs. Actual E&T Staffing (Authorized
              Positions as of February 8, 2022)
                                 Sworn             Civilian          Total
                             Plan Actual      Plan       Actual Plan    Actual
           E&T
           Management          9       6         4          3    13         9
           & Admin
           Entry Level
                              21    19 (1)       7          0    28      19 (1)
           Section
           Cadets in
                               0       0         4          0     4         0
           Training
           Continuing
           Education          15      13         7          0    22        13
           Section
           Crisis
           Response            7       5         0          0     7         5
           Team
           Academic
                               1       3        16       10 (2)  17      13 (2)
           Section




153
    July 2021 Staffing Plan Update.
154
    Id. at 31.
155
    Id.
156
    Id.

                                              47
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 52 of 106



            Firearms
            Training           5         20      15        1 (1)      20      21 (1)
            Section
            TOTAL             58      66 (1)     53       14 (3)     111      80 (4)
Source: BPD July 2021 Staffing Plan Update at 28, BPD.
Notes: Numbers in parentheses reflect current vacancies due to retirements, promotions, and/or
reassignments. This means that, overall, E&T has 80 authorized positions, of which 4 are currently
vacant – such that E&T has 76 individuals actively working within it as of February 8, 2022.

BPD indicates that, as of February 8, 2022, E&T had four vacancies, including three authorized
civilian positions and one authorized sworn position.

E&T’s current roster includes more sworn personnel than BPD’s Decree-required Staffing Plan
requires, with the Plan calling for 58 sworn personnel and BPD currently authorizing 66 sworn
personnel and 65 personnel actively working within E&T. Solely in terms of numbers, then, BPD
is meeting and exceeding the Consent Decree’s requirements with respect to sworn staffing within
its training function.

The Department still has some distance to travel to attain the level of civilian staff strength that
the Staffing Plan contemplates. Currently, E&T is authorized for 14 civilian personnel. With three
of those positions currently vacant, just 11 civilian staff members work within E&T. This falls
well below the 53 civilian personnel called for by the Staffing Plan.

In short, BPD currently exceeds the identified targets of the Staffing Plan by eight funded sworn
positions. It falls short of civilian personnel targets by 39 funded positions. Overall, the total
number of E&T personnel in funded positions as of February 9, 2022 was 80, which is
approximately 31 positions shy of Staffing Plan targets.

BPD has made notable strides to devote dedicated, full-time sworn resources to BPD. As indicated
elsewhere, it has not only increased sworn staffing but has eliminated the practice of technically
assigning such personnel to E&T but detailing them for material spans of time to other assignments
outside E&T.

The Department has also made notable progress on incorporating non-sworn personnel into the
training function. BPD’s civilian Academic Director, curriculum writers, and others have aided
substantially in E&T’s implementation of new approaches to officer training.

E&T’s staffing deficits are the result of the City’s failure to fund the civilian support personnel
that the Decree-required Staffing Plan identifies as necessary. This civilian support staff is
necessary to ensure that E&T functions as effectively as possible. As these civilian support



                                                48
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 53 of 106



personnel are primarily needed to assist E&T to continue to fortify the training function, these
civilians are not intended to serve as primary instructors for training initiatives. Therefore, the
deficit of civilian staffing, while significant and requiring the City’s urgent attention, is not
implicated directly by Paragraph 293’s requirements with respect to training instructors.

Ultimately, because E&T is fielding an adequate number of instructors to provide Decree- and
State-required training, as well as other identified training needs, the Monitoring Team finds BPD
has reached Initial Compliance (4d) with Paragraph 293. However, it is vital that E&T
receive support from the civilian personnel required by the Staffing Plan. Going forward,
maintaining a determination of initial compliance will be dependent on the City providing the
resources necessary for E&T to have the sworn and civilian staffing required by the Staffing Plan.

       2. Sufficient Number of “Qualified” Instructors

Paragraph 293 does not, by itself, define “qualified instructor.” The separate requirement of
Paragraph 296 that all E&T instructors be qualified according to several specific criteria means
that Paragraph 293’s requirement that BPD ensure an adequate number of “qualified instructors”
does not impose a separate, standalone obligation. Accordingly, we consider the extent to which
BPD is deploying appropriately qualified instructors in Section F below, which discusses the
Department’s compliance with Paragraph 296.

D.     Paragraph 294

       BPD will develop a written Training Plan for comprehensive in-service and
       supplemental training for officers and for enhancing BPD’s field training with a
       revised Field Training Officer (“FTO”) program. The Training Plan will be
       developed in consultation with the Monitor and DOJ, and will be consistent with
       the Monitoring Plan. The Training Plan will:
              a. Identify training priorities, principles and broad goals consistent with
                 this Agreement and the substantive training requirements it contains;
              b. Include a plan for delivering supplemental basic training, remedial
                 training, in-service training, and roll-call training as necessary to
                 provide the relevant training required by this Agreement;
              c. Coordinate the topics of supplemental basic training and in-service
                 training with FTO training;
              d. Establish the frequency and subject areas for supplemental basic and in-
                 service training;
              e. Develop a plan for annual in-service training;
              f. Identify available training delivery and related resources, as well as
                 unmet needs;



                                                49
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 54 of 106



               g. Coordinate with the City and others to assist in obtaining necessary
                  training resources;
               h. Where appropriate, provide time for obtaining any required approval
                  from the MPTSC; and
               i. Establish a method for assessing the content and delivery of training,
                  including training provided by outside instructors. This method will
                  allow for the measurement and documentation of trainee reaction to, and
                  satisfaction with, the training they received, and learning as a result of
                  training, including the extent to which trainees are applying the
                  knowledge and skills acquired in training to their jobs.

Prior to the Consent Decree, and as discussed previously, BPD provided officers with training
either for recruits in the Academy or in a single one to two-week block of annual in-service
instruction for existing officers. Although this severely limited the Department’s ability to provide
officers with effective training responsive to identified needs, it was relatively straightforward to
administer: the same training was offered either multiple times per year (for recruits in the
Academy) or numerous times per year (for officers in the one or two-week in-service course).

Part of BPD’s transition to a more dynamic, responsive, and sustainable training paradigm has
been the adoption of ongoing in-service training – including both in-class and e-learning
components. To ensure that training can be provided effectively and efficiently, and to ensure that
BPD systematically proceeds through Consent Decree requirements, the Consent Decree requires
BPD to develop a written Training Plan.

At the outset, BPD, the Monitoring Team and DOJ discussed the possibility of E&T developing a
single, multi-year, comprehensive schedule addressing all Consent Decree-required training and
anticipated state requirements. However, BPD, the Monitoring Team and DOJ quickly agreed
that, with many known and unknown contingencies likely impacting the schedule beyond the
immediate calendar year, E&T should focus on identifying training needs, proposed initiatives,
and timelines for each calendar year. In so doing, E&T would generally project the additional
training content anticipated to be delivered in upcoming years.

Since agreeing that BPD should maintain one-year training schedule, BPD has generated various
documents codifying its training approach, including a Standard Operating Procedures: Staff
Manual, and a continuously updated training management document – a tabbed spreadsheet – that
reflects the schedule of current and upcoming training initiatives.

The Baltimore Police Department Education & Training Section Master Training Plan: 2021
Edition (the “2021 Training Plan”) is the Department’s latest statement of training initiatives
within the context of an overall training plan. The Monitoring Team and DOJ have reviewed the



                                                 50
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 55 of 106



2021 Training Plan and determined that it is consistent with Paragraph 294 and the terms of the
Consent Decree. Among other things, the 2021 Training Plan:

        •   Describes E&T’s current organizational structure and staffing;157
        •   Re-articulates E&T’s mission;158
        •   Provides a summary of E&T’s activities and training initiatives in the prior year;159
        •   Describes the schedule and provides details about entry-level training to be provided
            in 2021, including a partnership with the Reginald F. Lewis Museum of Maryland
            African-American History;160
        •   Details and provides a schedule for State of Maryland-mandated in-service training for
            current BPD officers;161
        •   Details and provides a schedule for Consent Decree-required in-service training;162
        •   Details and provides a schedule for various, required range training (relating to re-
            qualifications and certifications for the use of less-lethal instruments and firearms);163
        •   Outlines ongoing and future efforts at training instructor development;164
        •   Inventories various E&T “administrative and planning initiatives [that] will take place
            during 2021”;165
        •   Identifies and describes training priorities for future years;166 and
        •   Provides a detailed schedule of BPD and E&T’s Consent Decree-required training
            programs from 2019 through anticipated 2024 initiatives.167

Consequently, the Monitoring Team concludes that:

       •    The 2021 Training Plan sufficiently identifies training priorities, principles, and goals
            consistent with the requirements of Paragraph 294(a) of the Consent Decree.
       •    Because it sets forth plans and timelines for all relevant training, the 2021 Training
            Plan complies with Paragraph 294(b).




157
    2021 Training Plan at 3.
158
    Id.
159
    Id. at 4–11.
160
    Id. at 12.
161
    Id. at 13–14.
162
    2021 Training Plan at 15–18.
163
    Id. at 19.
164
    Id. at 19–20.
165
    Id. at 20–21.
166
    Id. at 21–22.
167
    2021 Training Plan at 26–27.

                                                 51
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 56 of 106



       •   The 2021 Plan memorializes FTO Certification and Recertification training conducted
           in 2020.168 It clarifies that all state-mandated training applies to FTOs.169 It provides
           details about FTO Certification and Recertification training to be conducted in 2021.170
           The Plan also describes the ways that the “[i]mplementation of a new Learning
           Management System” will enable more robust, real-time feedback for the FTO
           program.171 Even as the FTO program is the subject of separate Consent Decree
           requirements, and is outside the scope of this assessment, the Monitoring Team
           concludes that the Training Plan adequately addresses the relationship between general
           Academy training, general continuing education initiatives, and FTO training, as
           required by Paragraph 294(c)
       •   The Training Plan adequately “[e]stablished the frequency and subject areas for
           supplemental and basic in-service training” – focusing both on the specific details of
           training conducted in 2021172 and in future years,173 consistent with Paragraph 294(d).
       •   The 2021 Training Plan identifies a specific plan for in-service training conducted in
           2021174 and for subsequent years through 2024.175 The Plan is therefore compliant with
           Paragraph 294(e).
       •   The 2021 Training Plan, consistent with Paragraph 294(f), adequately identifies
           training resources176 and unmet needs.177
       •   Pursuant to Paragraph 294(g), the 2021 Training Plan describes BPD and E&T’s
           coordination with the City to secure adequate training resources178 and developments
           in outside training partnerships.179
       •   The 2021 Training Plan sets forth MPTSC (State of Maryland police officer training)
           requirements and includes adequate time for BPD to obtain relevant approvals from the
           State for proposed training curricula. Consequently, the Monitoring Team concludes
           that the Training Plan complies with Paragraph 294(h).
       •   The 2021 Training Plan describes various “[s]ystems and procedures [that] are being
           developed to improve course and curriculum assessment.”180 Elsewhere in this
           assessment, the Monitoring Team uses information and data collected about trainee

168
    Id. at 9.
169
    Id. at 14.
170
    Id.
171
    Id. at 21.
172
    2021 Training Plan at 13–19.
173
    Id. at 26–27.
174
    Id. at 13–19.
175
    Id. at 26–27.
176
    Id. at 3–5, 19–21.
177
    2021 Training Plan at 21–22.
178
    Id. at 5
179
    Id. at 12.
180
    Id. at 21.

                                                52
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 57 of 106



           reaction to and learning from BPD instruction, as well as other forms of content
           assessment as to the quality and delivery of training from both internal and external
           instructors. The 2021 Training Plan adequately addresses the requirements of
           Paragraph 294(i).

BPD provided the Monitoring Team with a draft of its 2022 Training Plan on January 4, 2022.
Although E&T will be continuing to work to finalize the Plan, with feedback from the Department
of Justice and Monitoring Team, the Plan appears to use the same format and covers the same type
of content as the 2021 Plan.

The Monitoring Team also observes that BPD and E&T have continuously maintained and updated
a training calendar that identifies upcoming training programs, dates for delivery, and deadlines
for completion. Utilizing its Learning Management System, E&T maintains a dashboard that
allows it to easily determine, for ongoing training initiatives, the percentage of required personnel
who have completed the course – including, where applicable, breakdowns according to district
and geographic unit. This level of ongoing maintenance and updating of training priorities codified
in the Training Plan and tracking of progress toward successful fulfillment of those priorities is
further evidence both of the Plan’s centrality to E&T operations and to the sea-change in the
sophistication of the Department’s training function.

In sum, the Monitoring Team concludes that BPD is in Initial Compliance with Paragraph 294
regarding the construction and maintenance of a Training Plan, presuming that future Training
Plans will address more comprehensively the requirements of the FTO Program, which are
beyond the scope of the present assessment. BPD will need to continue to generate Training Plans
of sufficient quality during upcoming years, per the terms of the Consent Decree. For as long as
BPD is still providing training to comply with, or sustain compliance, with the Consent Decree,
BPD will need to generate and maintain a formalized Training Plan to ensure that the Monitoring
Team and Department of Justice can provide input on or flag any issues with training initiatives
before the Department invests resources in designing and conducting officer instruction.

E.     Paragraph 295

       BPD, pursuant to the Training Plan and in consultation with the Monitor and DOJ,
       will review all training curricula and lesson plans for consistency, quality, and
       compliance with applicable law, BPD policy, and this Agreement. BPD will ensure
       that best practices in adult learning, scenario-based training, and problem-solving
       practices, in addition to traditional lecture formats, are incorporated into training
       delivery. BPD will advise the Monitor and DOJ regarding training that can be
       delivered in roll-call or online, or in large class formats, as opposed to training




                                                 53
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 58 of 106



       that will require more intensive delivery. BPD will also assess instructor
       qualifications and testing materials.

This report has previously inventoried the Monitoring Team and DOJ’s involvement in the review
of training curricula and lesson plans. The Monitor and DOJ have reviewed and provided express
approval of all Consent Decree-required training that BPD has conducted to date, including in-
class trainings and e-learning initiatives. The Monitoring Team and DOJ have also conducted
ongoing auditing and observation of in-progress training initiatives, offering real-time feedback.
Neither the Monitoring Team nor DOJ has objected to the curricula, training plans, or training as
implemented across any Decree-required training conducted to date. This is, in many ways, a
testament to BPD and E&T’s commitment to conducting training in a fundamentally new way.

The requirement that BPD use “best practices in adult learning, scenario-based training, and
problem-solving practices” in its ‘training delivery” goes to the heart of the Decree’s general
requirements on training – and to the Department’s efforts over the past nearly five years to
dramatically overhaul how training is conducted.

Section IV-A describes the many specific things that E&T and the Department have done to
address the way that training is conducted. It is vital to remember that, during the DOJ
investigation and at the start of the Consent Decree, BPD training was conducted in a single,
standalone block using largely static, almost exclusively lecture-based instruction. By using a
variety of interactive learning techniques during in-person training, scheduling ongoing and
dynamic training programs rather than a single block of instruction, using e-learning for standalone
initiatives and as a learning component for larger in-class trainings, the quality, rigor, and
dynamism of BPD training has dramatically improved.

During the DOJ investigation and at the start of the Consent Decree, BPD had no meaningful mode
of evaluating the impact of training or the quality of instruction in real-time. E&T now regularly
includes mechanisms for gauging instructional quality. Indeed, E&T has adjusted the format of
its feedback and evaluation materials as it has progressed through the reform process.

Consequently, the Monitoring Team finds that BPD has progressed substantially toward
adopting and using a new training paradigm consistent with Paragraph 295. BPD is
complying with Paragraph 295’s requirements regarding the participation of the Monitoring Team
and DOJ in reviewing training programs and the assessment of training materials.

At this time, however, it remains slightly premature for a finding of initial compliance with
Paragraph 295. First, although the quality of BPD curricula has improved in quality by orders of
magnitude since the start of the Consent Decree, initial draft curricula that BPD creates and submits
to the Monitoring Team and Department of Justice continue to require some substantial revisions.



                                                 54
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 59 of 106



For example, in 2021, E&T submitted to the Monitoring Team and DOJ for review e-learning
curricula on the supervisory review of stops, searches, and arrests. Initial iterations of the e-
learning suffered from several foundational deficiencies with respect to content and did not
incorporate some of the promising practices with respect to content delivery that prior e-learning
initiatives had embraced. Initial submissions of draft curricula for First Amendment e-learning
were similarly disappointing. Likewise, even as in-service curricula for Use of Force/First
Amendment/Fair and Impartial III Training were somewhat better in initial quality, Monitoring
Team and DOJ feedback continued to focus on how BPD might better integrate adult learning
practices into the training. The issue ultimately is not that the initial curricula submissions are bad
or wholly inadequate. It is, instead, that BPD’s final training curricula are continuing to require
meaningful input from DOJ and the Monitoring Team to reach the level of quality that the Decree
requires – even if the volume of the input is far less than with early trainings at the outset of the
Decree process and the nature of that input is somewhat less substantial.

With respect to the assessment of instructor qualifications, the Monitoring Team finds that it is a
close call as to whether BPD has adequately fulfilled the requirement. First, as discussed below
with respect to Paragraph 296, BPD must still establish formal instructor qualifications for E&T
positions and a process for selecting instructors. The absence of clear, formal requirements for
E&T personnel, an established selection process, and clear selection criteria, make E&T’s
operations less rigorous than they ideally should be.

Second, the Monitoring Team has observed in its ongoing monitoring of E&T courses that BPD
has identified a number of sworn instructors who can credibly and capably deliver Consent Decree-
required training. Many instructors have performed very well and, in instances where problems
or opportunities for improvement have been identified, instructors have by and large exhibited the
capacity to grow within their roles. Several instructors have demonstrated a noteworthy ability to
navigate different subject matter areas and engage meaningfully with student officers who
appeared skeptical or resistant to new policies, new performance expectations, and new training
approaches.

However, at the same time, the overall quality of instructors appears somewhat uneven. Again,
many are performing at a very high level. Others are satisfactory. A few instructors have struggled
over time. In particular, a few instructors in different training initiatives have deviated
significantly from the approved curricula during in-class training initiatives – in good faith trying
to make lessons relatable and bring their own voice to instruction but, in practice, compromising
the delivery of some of the core concepts of training. In some instances, instructors prioritize the
telling of stories from their careers or articulating their own perspectives over participating in the
type of inclusive facilitation that BPD’s new training paradigm requires. Separately, some
instructors are continuing to rely on more static, passive facilitation styles – proceeding through
content in a lecture-oriented way rather than facilitating discussions – and appearing to treat



                                                  55
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 60 of 106



designated adult learning activities (small-group discussions, break-out groups, facilitated case
studies) as standalone elements that are disconnected from the imparting of content on nearby
PowerPoint slides. The Monitoring Team and DOJ have raised these and other concerns with BPD
in real-time, and some improvements have been observed. Nevertheless, for E&T’s new training
paradigm to be considered meaningfully operationalized such that it can endure well after the
Consent Decree is complete, the overall quality of instruction across facilitators and various
curricula will need to stabilize.

Ultimately, the Monitoring Team finds that BPD’s current status of compliance with Paragraph
295 is best characterized as Implementation – On Track. BPD and can reach compliance by
continuing to refine the quality of drafted curricula and instruction in upcoming in-service and e-
learning training initiatives in 2022.

F.     Paragraph 296

       BPD will ensure that all instructors responsible for training are proficient in their
       subject matter and are qualified, including, as applicable, previous instructor
       experience, training in instruction and adult learning techniques, and instruction
       skills. In addition, BPD will consider an officer’s performance evaluations, past
       performance as a police officer, and disciplinary history in selecting instructors.

For this assessment, the Monitoring Team requested that E&T provide information about all
current instructor qualifications, background, and relevant performance history. E&T indicated
that it did not have such information currently compiled within a system, or via a process, that
could easily be extracted. Instead, it conducted a survey of current training personnel that inquired,
among other things, about how many years instructors had worked at BPD, previous assignments
within the Department, other experiences relevant to E&T, education, degree, and instructor
courses and certifications completed.

Seventy-four (74) E&T members completed E&T’s survey. This included the Major in charge of
E&T; a Captain; the civilian Director; the Section’s three Lieutenants; 15 Sergeants; 43 officers;
and some civilian personnel, including two non-sworn curriculum developers and eight civilian
instructors.

       •   Most instructors have a good deal of prior experience. Half (50%) of instructors have
           more than 15 years of experience with BPD. Nearly one-quarter (about 23%) have
           between 11 and 15 years of experience, another 12% have been with BPD for between
           6 and 10 years. Ten instructors, or 15% of the instructor pool overall, have five or
           fewer years of experience with BPD.




                                                 56
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 61 of 106



      •    A majority of BPD instructors hold at least a high school diploma or GED. More than
           half (53%) of instructors have a high school education or equivalent. Approaching one-
           quarter of instructors (nearly 23%) have a post-graduate degree (a Doctorate, Juris
           Doctorate, or Master’s degree). About 15% have a bachelor’s degree and close to 10%
           have an Associate’s degree. Areas of study within the various degree programs varied
           widely, although 7 instructors focused on criminal justice in their post-high school
           studies.

      •    BPD instructors have worked across an array of prior assignments. Most (nearly 60%
           of) E&T instructors have worked in three or more official assignments within BPD
           before being assigned to serve as training instructors. Table 9 details the diversity of
           those prior assignments.

Table 9.      Prior Assignments of E&T Instructors During BPD Tenure
                                                              Number of
                                                              E&T
             Prior BPD Assignments                            Instructors
             Academy and Firearms Training Unit                       1
             Admin                                                    1
             Casino Unit                                              1
             City EPU                                                 1
             City-wide Investigations                                13
             City-wide Operations                                    15
             Criminal intelligence                                    2
             Curriculum Specialist                                    1
             District Investigations                                 12
             District Operations                                     37
             Education and Training                                  23
             FEMA Field Force Extrication Tactics                     1
             Firearms Training Unit                                   1
             Legal, E&T, Various details, task force                  1
             Lexington Market Foot Unit                               1
             OCD, VCID, VCIS                                          1
             Patrol                                                  53
             Personnel                                                1
             Police Commissioner's Office, Chief of Patrol's
             Office, Deputy Commissioner of Operations’
             Bureau Office                                            1
             Public Integrity Bureau/Internal Affairs Section         1
             Recruitment, Academy                                     1


                                               57
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 62 of 106



              RMS / Administrative report / Instructor                     1
              SIS Executive Protection, Gang Unit                          1
              Simunition Instructor                                        1
              Special Operations                                          12
              Undercover Work                                              1
              Warrant Squad before WATF                                    1
Source: BPD

      •     Current BPD instructors are certified across a number of important domains. BPD’s
            survey indicates that current BPD instructors are certified for instruction across a
            number of critical areas, which Table 10 summarizes.

Table 10.      Current Training Instructor Certifications
                                                                       Number Of
                                                                       Education
                                                                       and Training
              Instructor Certifications                                Staff
              Armorer                                                        1
              Bicycle Training Instructor                                    6
              Classroom Instructor                                           1
              Cooper Standards Law Enforcement Fitness
              Specialist                                                     1
              CPR Instructor                                                14
              Defensive Tactics Instructor                                  11
              EVOC Instructor                                               18
              Firearms Instructor (any firearm used by BPD)                 15
              General Instructor                                             1
              Instructor Certificate                                         1
              LEEMCC, SIMS, Active Shooter                                   3
              Less Lethal Munitions, Active Shooter                          2
              LPR                                                            1
              Mental Health First Aid Instructor, RADAR/LIDAR
              Instructor, LPR Instructor                                    1
              Mental Health First Aid Instructor, USSS Realistic
              De-Escalation Instructor                                      1
              MPCTC Civilian Supervisor Training                            1
              MPTC Drill instructor / FLETC Use of Force
              instructor/ Gracie survival tactics level 1 Instructor        1
              NCIC Instructor                                               4



                                                58
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 63 of 106



              SFST Instructor                                                  5
              Simunitions Instructor. FEMA Field Force
              Extrication                                                      1
              Taser Instructor                                                 4
Source: BPD

Although the results of E&T’s survey are helpful in painting a picture of E&T’s pool of current
instructors, BPD’s need to ask instructors to complete a survey to gather basic background about
instructors indicates that E&T still needs to build better mechanisms to select and track the
performance of its instructors. Even if basic and prior performance information might reside in
other databases (including Human Resources and systems recording disciplinary decisions), E&T
should be able to more readily produce and track the backgrounds and qualifications of instructors.

BPD’s survey also does not provide information about current BPD instructors’ “performance
evaluations, past performance as a police officer, and disciplinary history,” which Paragraph 296
requires that BPD consider when selecting instructors in the first instance. Although BPD or the
Monitoring Team could readily collect that information separately, the requirement here is that
BPD collect and consider that information when selecting new instructors. Currently, E&T and
BPD do not have files or records that this information has been systematically considered during
the course of the selection process of current E&T instructors.

To this end, BPD still needs to memorialize a clear, standard process for evaluating potential
training instructors, in alignment with the Consent Decree, and for selecting such instructors.
Paragraph 296 requires that BPD consider a candidate officer’s performance evaluations, past
performance generally, and disciplinary history during the training instructor selection process.
BPD does not appear to have established policies and protocols for when and how to evaluate the
prior performance of potential, new instructors.

E&T needs to develop expanded policy or manual guidance for how E&T instructors are selected.
During the Consent Decree process, E&T has needed to use a variety of mechanisms for rapidly
growing the ranks of training instructors, and key members of E&T’s leadership team have been
substantially involved in the process of identifying and selecting new E&T personnel. However,
as part of the process of institutionalizing Consent Decree changes for the long-term, the process
for selecting new instructors, the criteria for selection, and the performance standards that selected
instructors must meet need to be reduced more formally and systematically to writing. As part of
this operationalized and codified selection process, E&T should ensure that the process for
reviewing prior performance evaluations, overall performance, and disciplinary history are
codified so that the Monitoring Team, BPD’s internal audit function, and the Department generally
can verify that E&T has appropriately adhered to its selection protocols.




                                                 59
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 64 of 106



The Monitoring Team has observed the performance of E&T instructors within the context of
numerous Consent Decree-required trainings to date. As may be expected, the quality of the
instruction has varied, with some instructors performing more capably than others – whether
overall or with respect to some key aspects of BPD’s new training paradigm or particular
components of specific training initiatives. Some instructors have appeared to struggle or to adapt
somewhat less quickly, but, crucially, the Monitoring Team has seen improvement in many
instances as a result of E&T creating feedback mechanisms.

To this end, BPD has recently created, with the input and feedback of DOJ and the Monitoring
Team, a Training Feedback Rubric (the “Rubric”) that E&T and CDIU, as well as DOJ and the
Monitoring Team, will use to evaluate the performance of training instructors going forward. It is
attached as Appendix B. The Rubric in many ways codifies the dimensions along which E&T,
DOJ, and the Monitoring Team have been providing ongoing feedback to training instructors to
date. This is the type of internal mechanism that will allow for what has been happening
dynamically within BPD and E&T to be operationalized so that ongoing, constructive evaluation
of instructor performance continues well beyond the Consent Decree.

BPD’s relatively recent codification of the instructor review process to a standardized Rubric and
process is not a signal that instructor evaluation has only just begun within E&T. On the contrary,
and as noted elsewhere in this report, E&T has made ongoing evaluation, critique, and performance
analysis of instructors a core part of its new training paradigm. Within the context of the piloting
of in-class training initiatives, E&T personnel’s discussion, with DOJ and the Monitoring Team,
has focused on both the substance of what is being taught and the quality of the instruction itself.
As training initiatives are implemented in earnest, E&T convenes instructors regularly (often on
Fridays, when in-class training programs are generally not scheduled) to discuss performance,
challenges encountered during training sessions, and potential opportunities for further refining or
enhancing the quality of in-progress instruction. This type of ongoing, iterative performance
evaluation process is consistent with organizational change models in which all stakeholders come
to see themselves as equal contributors to a new institutional approach – and seek to help enhance
the performance of themselves and others in collaboration with other stakeholders who share the
same goals and outcomes.

In short, the Monitoring Team, in its numerous observations of BPD training since 2018, has
not identified any E&T instructor who does not meet minimum standards of proficiency,
even as some instructors have needed more time, effort, and guidance on adopting new
training approaches or becoming more comfortable in their role as a training instructor.

However, BPD is not yet in initial compliance with Paragraph 296 because E&T has not yet
adopted a codified, standardized approach for selecting training instructors. If and when the
Department does so, and is able to track both the prior and current performance of personnel



                                                60
         Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 65 of 106



selected as training instructors, the Department will be in initial compliance with Paragraph 296.
At present, the Monitoring Team finds that BPD’s compliance status is consistent with
Implementation – On Track (4c).

The Monitoring Team also notes that E&T does not currently benefit from a system that allows it
to track the performance and instructor-specific training credentials of E&T personnel. BPD
observes that, for purposes of MPCTC compliance, it conducts formal evaluations and re-
certifications, which the Department tracks. E&T’s instructional development specialist also
conducts observations of training and provides formal evaluations to instructors on an ongoing
basis. Although these efforts are recorded and tracked, they are not part of a formalized system
for tracking instructor performance. It appears that the new Acadis system, discussed elsewhere
in this report, will assist E&T in this regard. As of the end of 2021, however, E&T cannot as easily
identify what personnel have received what specialized instructor training, and when.

G.        Paragraph 297

          BPD will actively seek out and retain qualified instructors from outside BPD to
          supplement the skills of its in-house training staff and adjunct instructors. As
          appropriate, BPD will incorporate experts, community-based instructors, and
          guest speakers, including mental health service providers and consumers, judges,
          prosecutors, crime victims, academics in the field of criminal justice, community
          resource providers, and community members, including Youth, to participate in
          relevant courses.

As referenced in Section IV, above, BPD has benefitted from the use of outside instructors across
a number of training initiatives. This includes:

     •    Behavioral Health/Sexual Assault Training. External behavioral health specialists and
          clinicians taught substantial portions of the Zoom-based instruction.
     •    Community Policing/Lesser Offenses. External community partners and BPD non-
          sworn legal instructors (attorneys) taught significant portions of the in-person instruction.
     •    Public Integrity Bureau Training. A contracted, external specialist provided a four-day,
          in-person training for sworn personnel within PIB on conducting misconduct
          investigations.
     •    Crisis Intervention Training (CIT). External behavioral health specialists and clinicians
          taught significant portions of this five-day, in-person training for sworn members who
          volunteer to become CIT officers.
     •    Trial Preparation & Testimony. This four-hour, in-person course for selected sworn
          personnel was co-taught by attorneys from the State’s Attorney’s Office, US Attorney’s
          Office, and BPD non-sworn legal instructors (attorneys).



                                                   61
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 66 of 106




Additionally, current training under development addressing the Consent Decree’s provisions on
youth contemplate the participation of instructors and training contributors from outside the
Department.

Paragraph 297 requires that BPD incorporate any of a variety of outside instructors “to participate
in relevant courses” “[a]s appropriate.” In this way, Consent Decree commits the Department to
using outside instructors and experts of the type, within those contexts, that are useful in light of
the learning objectives of various training initiatives. As a result, the fact that BPD has yet to
incorporate the participation of crime victims, for instance, into training is not necessarily an
impediment to compliance with Paragraph 297 to the extent that the Department has been – as
recounted above – incorporated external resources “as appropriate . . . in relevant courses.”

Because the Department has sought and obtained the participation of high-quality, outside
instructors across a variety of training courses where such outside expertise is relevant and
appropriate, BPD is in Initial Compliance with Paragraph 297. As with many other of the
Paragraphs considered here, to maintain this level of compliance, BPD will need to continue to
incorporate outside experts and community-based resources as it implements various required
training initiatives going forward.

H.     Paragraph 298

       Where necessary to comply with this Agreement, BPD will develop or adopt
       supplemental basic training and in-service training curricula and lesson plans. All
       new curricula and lesson plans will be reviewed and approved by the Monitor and
       DOJ prior to implementation. Any training required by this Agreement that is
       conducted by an outside instructor or non-BPD entity will be reviewed and
       approved by the Monitor and DOJ prior to implementation. Approval of curricula
       and lesson plans submitted to the Monitor and DOJ will not be unreasonably
       withheld and will be deemed granted if there has been no substantive response
       within 30 days. Notification that either the Monitor or DOJ will review the training
       and provide commentary, or similar, shall be deemed a substantive response.

Section IV-B of this report describes the various training curricula that BPD has developed to
comply with the subject-specific training requirements of the Decree. This has included, for
example, training on use of force; fair and impartial policing; stops, searches, and arrests;
community policing; behavioral health; sexual assault investigation; and other topics.

As Section III describes, all new lesson plans have been developed with the input and feedback of
the Monitoring Team and Department of Justice. Per the express terms of each year’s Monitoring



                                                 62
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 67 of 106



Plan, the Department of Justice and the Monitoring Team have both independently reviewed and
approve all required training.

Since the start of the Consent Decree, BPD has provided training to officers that is not directly
designed to meet specific Consent Decree requirements. This has included training designed to
meet State of Maryland mandates, to address identified officer training needs not specifically
covered in the Monitoring Plan, or to address other organizational needs. In those instances, the
Department has provided the Monitoring Team and Department of Justice with proposed curricula
or course outlines so that both could make a determination as to whether the subject implicates the
Decree. In all of those instances where the proposed training reasonably related to the Decree, the
Monitoring Team and Department of Justice have provided their approval—sometimes after
providing feedback or proposed changes, which the Department incorporated. In those instances
where the Team and DOJ have determined that the substance of the training is not reasonably
related to the Decree, the Monitoring Team and DOJ have communicated that the training falls
outside of the scope of the Decree and, therefore, does not require the Monitor’s or DOJ’s approval.

The Monitoring Team’s various observations about the substance of submitted curricula is
discussed above with respect to Paragraph 295. The Monitoring Team interprets Paragraph 298
to memorialize important but largely procedural expectations that facilitate the robust, real-time
oversight and feedback with respect to Decree-required training initiatives. In this way, the more
consistent improvement that the Monitoring Team indicates that it will need to see for BPD to
reach Initial Compliance with Paragraph 295 is not at issue with respect to the particular
requirements of Paragraph 298.

Therefore, because the Monitoring Team and DOJ have reviewed and approved the provision of
all BPD training designed to comply with the express terms of the Consent Decree and that the
Monitoring Team and/or DOJ have deemed reasonably related to the Consent Decree, the
Monitoring Team finds that BPD is in Initial Compliance with Paragraph 298. However, unless
and until the Monitoring Team finds that the Department has reached compliance with the various
paragraphs of the Consent Decree that set forth the specific requirements of various training
initiatives, the Department must continue to receive Monitoring Team and DOJ approval before it
conducts future training initiatives.

I.     Paragraph 299

       BPD will review and update BPD’s Training Plan on a periodic basis. To inform
       these updates, BPD will conduct a needs assessment, taking into consideration:
       trainee-to-instructor ratios; trainee feedback and evaluations of trainings; trends
       in misconduct complaints; problematic uses of force; data concerning stops,




                                                63
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 68 of 106



        searches and arrests; analysis of officer safety issues; and changes in the law or
        BPD policy.

        1. Review & Update of BPD Training Plans

BPD updates its Training Plan on an ongoing basis, producing annual updates in formalized,
public-facing documents. Practically, BPD’s Curriculum Coordination Committee, described in
this report previously, helps to set the strategic direction for E&T’s training initiatives. As detailed
previously, the Monitoring Team finds BPD’s Training Plans to be consistent with Consent Decree
requirements.

        2. Needs Assessment

Paragraph 299 requires that a “needs assessment” “inform” the Training Plan, and it outlines
several specific areas for assessment – including trainee feedback; misconduct complaint trends;
information and issues relating to uses of force; data on stops, searches, and arrests; officer safety
considerations; and law and policy changes. To date, BPD has incorporated consideration of some
of these issues – such as trainee feedback, information and issues relating to uses of force, and law
and policy changes – into its training plans. For instance, as of early February 2022, BPD was
completing a contemplated e-learning training on interactions with canines as a result of the
Performance Review Board (“PRB”) identifying trends and systemic issues with the use of
firearms in situations involving dogs.

At the same time, other expressly contemplated areas for consideration within the needs
assessment, such as data on stops, searches, and arrests, has not been incorporated into the Training
Plan. Indeed, that data has only recently begun to be collected systematically per Consent Decree
requirements within BPD’s new Records Management System, which has prevented the analysis
of such data to inform Training Plans.

Further, although the Training Plans are reflecting good-faith appraisals of what the Department’s
training needs, BPD still has some distance to travel to formalize and systematize the needs
assessment process. Rather than relying on forward-thinking personnel to periodically surface
training needs and issues, E&T should establish a formalized process, as an early part of its
development of annual Training Plans and revisions, for conducting and codifying the type of
needs assessment that Paragraph 299 requires.

Therefore, although BPD’s Training Plans are reflecting some important analysis of
organizational needs, the needs assessment process still needs to be more formalized to meet
the specific requirements of Paragraph 299. At present, the Monitoring Team finds that BPD’s
compliance status is consistent with Implementation – On Track (4c).



                                                  64
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 69 of 106



J.     Paragraph 300

In order to ensure that all trainings are adequately documented, BPD will develop and implement
a training data tracking system in consultation with the Monitor and DOJ. The training data
tracking system will include a central and comprehensive database containing information on
trainings attended by each officer, including in-service training and remedial training. The data
tracking system will include information on which officers require trainings, and class attendance,
including missed classes. The data tracking system will additionally include performance data
and trainees’ results on any tests or scored evaluations. The system will be readily available to
supervisors throughout the Department to facilitate their supervisory duties. BPD will ensure that
adequate resources are provided to maintain the system up to date and review the data contained
therein.

       1. Data Tracking System: Development & Implementation

At the start of the Consent Decree process, E&T did not systematically track training attendance
and completion using a single process or electronic database platform. Indeed, it struggled to
provide definitive evidence, one way or another, as to what officers had completed what training.
The Monitoring Team understood from E&T staff at the time that pen-and-paper sign-in sheets
often served as the most formal records available for who attended training sessions.

Pursuant to conversations with the Monitoring Team and DOJ, BPD elected to use the PowerDMS
platform as a way of systematically tracking training information in a database system – even as a
longer-term solution was contemplated. From approximately 2018 through the present, E&T has
obtained information about what personnel have completed various training initiatives from its
PowerDMS platform. Due to limitations of that platform, E&T personnel take data obtained from
PowerDMS and enter into a locked, Web-based spreadsheet, called the Continuing Education
Input Report, that functionally serves as E&T’s “dashboard” for attendance. Specifically, E&T
personnel take the list of individuals who have successfully completed the required tests and
evaluations for each course and, using personnel sequence numbers, compare it to the list (from
Human Resources) of everyone in the agency. Through this comparison, BPD determines who
has and has not completed specific training programs or elements. The Monitoring Team
understands that this is possible for both general purpose, all-officer training; specialized training
initiatives; and specific remedial training.

The Monitoring Team has reviewed E&T’s Web-based dashboard. It provides a wealth of detailed
information about current completion rates for in-progress and past trainings, with breakdowns by
district and administrative unit. It also tracks scores on the evaluation components of training
programs.




                                                 65
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 70 of 106



The Monitoring Team has also received an overview of E&T’s PowerDMS platform. As discussed
below, this system is being phased out in favor of a newer, more dynamic training tracking
platform. Consequently, the Team did not independently assess the quality and veracity of data
within the PowerDMS platform. However, the Monitor has no reason to believe that the
information within the PowerDMS system is any different from E&T’s summary dashboard, which
the Team understands is where information and data provided to the Court on numbers of
personnel completing various Decree-required trainings has been harvested.

As one member of E&T observed in a conversation with the Monitoring Team and DOJ, the
process of using test scores within PowerDMS, a comparison to the HR database, and manual entry
into a Web-based spreadsheet “is not our ideal or favorite method.” The Department indicates that
its understanding of the clear limitations of the approach is why it is in the midst of moving to a
new system for tracking training, called Acadis. In addition to being able to track officer
attendance in a much more streamlined manner, by simply generating a report of officers who have
not yet completed particular training requirements, Acadis will vastly enhance the process of
scheduling officers for in-person training. Specifically, individual officers will sign up for
individual spots in specific training initiatives – allowing E&T to understand and track, in real-
time, who has failed to show up for training. Currently, particular districts sign up for particular
“slots” in training, and E&T does not know precisely what district personnel will be attending on
what days until they arrive. Although it does not appear that the current sign-up process has posed
any significant operational challenges, E&T and the Department will benefit from the more
sophisticated and dynamic training sign-up system that is possible in Acadis.

       2. Data Tracking System: Officer Attendance & Missed Trainings

As outlined above, E&T has, to date, been able to track attendance (including what officers have
missed what trainings181) through its tracking of test scores and officer training evaluations in
PowerDMS. Although the process is more resource-intensive than it will be in the new Acadis
system, BPD’s assertion that the PowerDMS and spreadsheet-focused process is nonetheless
superior to the hand-written sign-in sheets that the Department was using before the Consent
Decree to track training attendance – as such hard-copy forms were not as uniform, dependable,
and searchable as records of completed tests and training evaluations within PowerDMS. Through
this manual process, E&T can identify what officers have not yet completed various, required



181
    The Monitoring Team interprets Paragraph 300’s reference to “missed classes” to refer to
instances where officers fail to attend a required class at any point and therefore fail to adhere to
the training requirement. Although it is useful for BPD and E&T to know when specific officers
signed up for a class, did not attend, and subsequently needed to sign up and attend on a different
day, attendance is of primary importance in understanding whether officers attend and complete
the specific training initiatives that the Department requires.

                                                 66
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 71 of 106



trainings; which officers attended what class on what day; and whether various personnel have
missed any courses, days, or elements of required training.

       3. Data Tracking System: Performance, Test, and Evaluation Data

PowerDMS tracks data on trainee test scores and evaluations. As noted above, the completion and
tracking of such scores and performance data is the foundation of BPD’s ability to track personnel
training completion.

       4. Data Tracking System: Supervisor Availability

Currently, BPD supervisors are administrators in PowerDMS, as are any personnel that work
within an administrative capacity in districts through the Department. This gives supervisors and
designated administrators a higher level of access to the system than other officers, which allows
them to view reports on test and evaluation completion, identify if a member has completed an e-
learning, and/or view what tests and evaluations specific personnel have completed.

Although supervisors can use PowerDMS to understand what personnel have and have not
completed various training requirements, it appears that Acadis has the ability to enhance this
ability even further. Specifically, supervisors and managers will be able to see, via a
straightforward dashboard or portal within Acadis, whether members are in compliance with
training requirements. Acadis also provides individual officers with an individualized snapshot of
the training that they have completed. This “at-a-glance” ability promises to make information
about training more readily accessible to BPD supervisors going forward.

       5. Data Tracking System: Adequate Resources

The Department indicates that it is hoping to begin live implementation of the Acadis system by
the end of January 2022. By the second quarter of 2022, the Department anticipates that it will
solely be using the new Acadis system for providing e-learning and tracking and administratively
facilitating in-person instruction. E&T also notes that it will track various, required certifications
(for things like firearms qualifications, less-lethal instrument qualifications, CPR or first aid
certifications, and the like) through Acadis, which will replace another spreadsheet that the
Department currently uses to keep track of whether officers are appropriately certified, when
various certifications expire, and the like.

       6. Overall Compliance Determination

As E&T itself concedes, the current process for tracking training completion and performance is,
as described here, somewhat cumbersome. Nevertheless, the processes and systems involving



                                                 67
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 72 of 106



PowerDMS that BPD has in place are sufficient to generate reliable information about who has
completed what training and how officers have performed in training – as well as to make that
information available to supervisors. Consequently, however convoluted the current system may
be, BPD has managed to comply with Consent Decree requirements even as it contemplates a more
permanent, resource-effective solution. The Monitoring Team credits the earnest efforts of BPD
to comply with as much of the Consent Decree as possible with the existing resources that have
been available, even as a longer-term solution is being contemplated.

Ultimately, although the limitations of the PowerDMS platform make BPD’s current system for
tracking officer completion of training more complicated than ideal, the Monitoring Team
concludes that BPD is in Initial Compliance with Paragraph 300 of the Consent Decree
because it is able – even as it requires several steps and manual processes – to track which officers
are completing what training requirements. However, this determination is dependent on
BPD’s imminent, successful adoption of the Acadis program and the Department’s move,
currently underway, to a more sustainable, less resource-intensive process for tracking
information on training completion and performance in the future.




                                                 68
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 73 of 106



VI.     TRAINING-RELATED OUTCOME ASSESSMENTS

The various outcome assessments that Paragraph 459 requires are intended to “measure whether
BPD’s revised practices and procedures are achieving the purposes of this Agreement and are
having an overall beneficial effect on policing in Baltimore.”182 To achieve “Full and Effective
Compliance” with any material part of the Consent Decree, such as the general requirements that
are the subject of this report, the City and BPD must show that they have complied with all specific
requirements of the Decree in the given area and “shown sustained and continuing improvement
in constitutional policing as demonstrated by the Agreement’s Outcome Assessments.”183

Paragraph 459(l) requires that the Monitoring Team conduct a review of:

        i.      Rates of completion of approved training and performance assessments of
                evaluative aspects of training;
        ii.     Qualitative measurements of the adequacy of training, including
                assessments by officers, feedback from instructors, and evaluation by
                civilian reviewers;
        iii.    Qualitative and quantitative assessments of the FTO program, including the
                availability of sufficient numbers of eligible FTOs and officer complaints
                files against FTOs, and
        iv.     The frequency that training deficiencies are identified through
                investigations, internal reviews, complaints, disciplinary proceedings,
                civilian oversight, or other mechanisms.184

The scope of the present training assessment excludes the FTO program. Consequently, outcome
assessments relating to 459(iii) are not addressed here.

A.      Paragraph 459(l)(i): Rates of Completion of Approved Training and Performance
        Assessments of Evaluative Aspects of Training

At the beginning of the Consent Decree process, training completion rate data was erratically
gathered and not sufficiently reliable. The adoption of a more mechanized process, and the use of
the PowerDMS system has enabled the Department to provide more comprehensive training
completion data – even if the process is cumbersome, as described previously.

BPD has provided formal attestations to the Court at the conclusion of all major trainings with
respect to training completion rates. Table 11 summarizes the rate of completion for each Consent

182
    Dkt. 2-2 ¶ 459.
183
    Id. ¶ 506.
184
    Id. ¶ 459.

                                                69
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 74 of 106



Decree-related training based on the number of BPD members eligible or required to complete the
training.

As discussed previously in this report, completion rates have been high for most Consent Decree-
related trainings. For purposes of 459(i) and the compliance review above, the Monitoring Team
considered “completion rates” to correspond to the portion of BPD officers who were eligible for
the training and who successfully completed it during the timeframe that the training was originally
provided. This means that the completion rate is computed by taking the number of officers who
completed the training and dividing that by the number of officers who were eligible to take the
training (which necessarily excludes officers away from the Department on an extended basis due
to long-term medical or disability leave, military leave, and other reasons).

Table 11.       BPD Training Completion Rates, Major Consent Decree Training
                                                              Number of
                                               Number of
   Delivery                                                    Officers
                          Training               Officers                     Completion Rate
    Method                                                   Eligible for
                                               Completed
                                                               Training
 Classroom        Use of Force – 2019          1,957         1,977         98.99%
 Classroom        Stop, Search, and Arrest     2,191*        2,266*        96.69%
                  – 2020
 Classroom        Behavioral Health,           2,106         2,117         99.48%
                  Sexual Assault – 2020-
                  2021
 Classroom        Ethical Policing is          2,393**       2,393**       100.0%
                  Courageous – 2020-2021
 Classroom        Community Policing –         2,119         2,124         99.76%
                  2021
 eLearning        1st Amendment                2,082         2,085         99.86%
                  eLearning – 2021
 eLearning        Body-Worn Camera             2,093*        2,240*        93.44%
Source: BPD Certifications to Court.
Notes: * BPD’s certification to the Court did not specifically detail how many officers were
eligible to complete the training during the period that it was provided. Instead, the total number
of officers eligible corresponded to all officers employed by BPD during the time of the training.
Consequently, the number of eligible officers is higher than in some other trainings and the
completion rate somewhat lower.
** BPD’s certification did not provide specific details on how many of its officers were either
eligible or how many specifically completed. Instead, it noted simply that “all eligible members”
completed it, with “[z]ero members [who] were in active, full-duty status during the delivery
period of the training” failing to complete it. (Dkt. 413-1 at 1.)


                                                70
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 75 of 106



Given the low numbers of officers who have failed to complete required training, and the fact that
BPD indicates that it is forwarding those who fail to complete required training to the Department’s
Public Integrity Bureau (“PIB”), the completion rate scores are encouraging and consistent with
sound policing practices.

Before the Consent Decree, BPD did not regularly or reliably present evaluations to officers that
tested knowledge, information retention, or skill development. As it the Department has developed
a new training paradigm, the Department now regularly gives student officers substantive
examinations or evaluations during various Consent Decree training programs. For this report,
E&T provided the Monitoring Team with performance assessment data related to the following
classroom trainings:

       •   Use of Force Modules 1, 2, and 3 (2019 – 2021)
       •   Stop, Search, and Arrest Days 1 and 2 (2020 – 2021)
       •   Patrol Response to Behavioral Health Crises & Sexual Assault (2021)
       •   Ethical Policing is Courageous (2021)
       •   Community Policing (2021)

The performance assessment data were reviewed by the Monitoring Team and summarized in this
report to identify variation across rank in the Department for first attempt scores, final scores, and
the number of assessment attempts.

Table 12, below, provides a summary of the substantive evaluation scores of officers across
various, major Consent Decree trainings through December 2021. The Monitoring Team observes
that the average, initial scores on substantive examinations across the displayed training elements
was nearly 87% or greater for each, individual test. Final scores on these tests equaled nearly
100%. A full accounting of each evaluation, including a breakdown of scores by rank and an
accounting of the number of test attempts necessary to reach the set level of substantive knowledge
(which was 100% across most instances) is provided in Appendix C.

Finally, this report has elsewhere discussed the Monitoring Team’s ongoing evaluations of the
ongoing quality of BPD’s Consent Decree-required training programs. To date, no implemented
Consent Decree training has been found to be deficient, and the Monitoring Team is increasingly
and favorably impressed by the extent to which training is reflecting the required, new approach
to training grounded in adult learning techniques and scenario-based instruction.

Overall, the high rates of completion for BPD training, strong scores and mechanisms for
evaluating officer knowledge and information retention, and the Monitoring Team’s ongoing
qualitative of BPD training initiatives all show sustained and continuing improvement with respect
to the quality of training and the Department’s training function.


                                                 71
                            Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 76 of 106



Table 12.        BPD Officer Training Evaluations Scores, Major Consent Decree Trainings through December 2021

                                                First Attempt                                                   Final Attempt
                        Number     Mean First    Median         Mode First   Score      Number     Mean Final     Median        Mode Final   Score
                                   Attempt       First          Attempt      Range                 Attempt        Final         Attempt      Range
                                   Score         Attempt        Score                              Score          Attempt       Score
                                                 Score                                                            Score
      Use of Force:     2,170      92.1          90             100          0 - 100    2,170      99.5           100           100          60 - 100
      E-Learning        (100.0%)                                (46.9%)                 (100.0%)                                (96.9%)
      Module 1
      Use of Force:     2,171      90.6          90             100          0 - 100    2,171      98.8           100           100          0 - 100
      E-Learning        (100.0%)                                (45.3%)                 (100.0%)                                (93.3%)
      Module 2
      Use of Force:     2,167      95.6          100            100          0 - 100    2,167      99.8           100           100          40 - 100
      E-Learning        (100.0%)                                (66.6%)                 (100.0%)                                (98.3%)
      Module 3
      Community     2,062          89.7          93             100          0 - 100    2,062      100            100           100          100 - 100
      Policing      (100.0%)                                    (32.2%)                 (100.0%)                                (100.0%)
      Stop, Search, 2,020          91.31         90             90           30 - 100   2,020      100            100           100          100 - 100
      and Arrest: (100%)                                        (39.9%)                 (100%)                                  (100%)
      Day 1
      Stop, Search,     2,020      89.66         90             90           0 - 100    2,020      100            100           100          0 - 100
      and Arrest:       (100%)                                  (42.5%)                 (100%)                                  (100%)
      Day 2
      Behavioral        1,992      88.97         90             90           20 - 100   1,992      99.74          100           100          75 - 100
      Health/Sexual     (100%)                                  (29.4%)                 (100%)                                  (98.1)
      Assault
      Investigations
      Ethical           2,097      86.80         90             90           40 - 100   2,097      99.99          100           100          80 – 100
      Policing     is   (100%)                                  (32.1%)                 (100%)                                  (100%)
      Courageous
      (EPIC)
Source: BPD




                                                                               72
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 77 of 106



B.      Paragraph 459(l)(ii): Qualitative Measurements of the Adequacy of Training

Student officers have provided their qualitative feedback at the conclusion of various training
programs. The format of these qualitative feedback opportunities differed from course to course.
The overall results of the surveys are summarized in Section IV of this report and provided in full
in Appendix D.

The Monitoring Team concludes that BPD officers are finding Consent Decree training useful and,
importantly, applicable to their day-to-day duties. Although it is possible that substantively sound
training that officers do not enjoy might nonetheless generate improvements in real-world
performance after training, the likelihood of BPD training shaping officer performance is likely
stronger given the generally (if not uniformly) high officer ratings of various training initiatives.
Especially given the static nature of BPD’s prior training paradigm, and the lack of resources
available to E&T before the Consent Decree, the Monitoring Team finds that its continuing
qualitative measurement of the adequacy of BPD training is consistent with the promotion of
constitutional policing and with sustained and continuing improvement.

The Monitoring Team does not consider the feedback of training instructors or evaluations by
civilian reviewers at this time because such information does not currently exist in an aggregate
format. The Team will continue to work with BPD and the Parties to expand the available pool of
qualitative feedback measurements available before the Team’s next report on Paragraph 459(l)
outcome assessments.

C.      Paragraph 459(l)(iv): Training Deficiencies

E&T receives notice of training recommendations and deficiencies for individual officers from
several sources within BPD. Notices are sent directly to Education and Training sub-units such as
EVOC (driving), Firearms, and Defensive Tactics.

The Education and Training Section provided the Monitoring Team with the number of training
notices sent to them in 2021 and the sources from which the notices were sent. Currently, there is
not a centralized tracking system for these notices of training deficiencies. Information on training
notices received and/or completed in 2021 is summarized below in Table 13.

Table 13.      Frequency of Training Deficiencies by Type and Source of Notice (Received
               And/Or Completed in 2021)
 Type                 Source                          Number* Explanation
                      Fleet Safety or Traffic                    Training provided by EVOC
 Remedial Driving                                      167**
                      Accident Hearing Board                     Unit




                                                 73
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 78 of 106



 Remedial             PRB or PIB (Public                         Training provided by Firearms
                                                        25
 Firearms             Integrity Bureau)                          Training Unit
                      PRB, PIB, or Unit                          Training provided by Defensive
 Defensive Tactics                                      15
                      Commands                                   Tactics Unit
 Prisoner                                                        Training provided by Defensive
                      Audits & Inspections              30
 Transport                                                       Tactics Unit
                                                                 Training responsibility assigned
 Miscellaneous                                                   to different E&T units
                      PRB                              73***
 Performance                                                     depending on specific
                                                                 recommendation or deficiency
Source: BPD
Notes: * Number completed in 2021.
** Includes substantial backlog from prior year(s).
*** This PRB number is per person/topic (i.e., if PRB requires Officer A to be trained/re-trained
on 3 topics, this is counted as 3 notices). The number listed includes some overlap (double
counting) with remedial firearms and remedial defensive tactics. Additionally, the number
includes some PRB training notices assigned in 2020 and completed in 2021. Remaining PRB
training notices not yet completed as of December 28, 2021 totaled 53.

Even as E&T maintains records about training deficiencies that it receives from various locations
in the Department, BPD needs to adopt a centralized system and process for flagging training
deficiencies. Because training deficiencies, issues, and opportunities can arise during the review
of performance from a number of different places, and through a number of various routes
(performance reviews, use of force investigations, internal affairs investigations, regular
supervisory duties, post-incident debriefings, etc.), the Department will benefit from a system that
ensures that it systematically logs, tracks, and addresses training issues. A more formalized system
going forward for logging and tracking training deficiencies will allow the Monitoring Team to
better gauge whether the way that the Department is addressing deficiencies is demonstrating
sustained and continuing improvement consistent with constitutional policing




                                                74
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 79 of 106



VII.    COMPLIANCE ASSESSMENT CONCLUSIONS
Consent Decree Paragraph                                                                             Compliance Score
291    The parties agree that proper, effective and comprehensive training is a necessary                 4d
       prerequisite to constitutional policing. The Parties agree that BPD must establish and           (Initial
       prioritize a robust training program to ensure that officers and other employees gain          Compliance)
       full understanding of BPD policies, legal requirements, and practical policing
       techniques. The Parties recognize that under state law certification of training may be
       subject to approval by the Maryland Police Training and Standards Commission (the
       “MPTSC”).
292    With BPD’s assistance, the City will ensure that BPD’s training program and academy                 4c
       are reasonably funded. In consultation with the Monitor, the City, and DOJ, BPD will          (Implementation
       create a plan for renovating and updating training facilities in a cost-effective and           – On Track)
       reasonable manner to accomplish the training requirements of this Agreement,
       including the provision of information technology resources. All of the training
       requirements of this Agreement are set forth in the Training Matrix, Appendix A. The
       information technology resources required by this Agreement shall be determined in
       accordance with Section XII, Technology.

293    BPD will ensure that an adequate number of qualified instructors are assigned to the               4d
       training academy.                                                                                (Initial
                                                                                                      Compliance)

294    BPD will develop a written Training Plan for comprehensive in-service and                          4d
       supplemental training for officers and for enhancing BPD’s field training with a revised         (Initial
       Field Training Officer (“FTO”) program. The Training Plan will be developed in                 Compliance)
       consultation with the Monitor and DOJ, and will be consistent with the Monitoring
       Plan. The Training Plan will: a. Identify training priorities, principles and broad goals
       consistent with this Agreement and the substantive training requirements it contains; b.
       Include a plan for delivering supplemental basic training, remedial training, in-service
       training, and roll-call training as necessary to provide the relevant training required by
       this Agreement; c. Coordinate the topics of supplemental basic training and in-service
       training with FTO training; d. Establish the frequency and subject areas for
       supplemental basic and in-service training; e. Develop a plan for annual in-service
       training; f. Identify available training delivery and related resources, as well as unmet
       needs; g. Coordinate with the City and others to assist in obtaining necessary training
       resources; h. Where appropriate, provide time for obtaining any required approval from
       the MPTSC; and i. Establish a method for assessing the content and delivery of
       training, including training provided by outside instructors. This method will allow for
       the measurement and documentation of trainee reaction to, and satisfaction with, the
       training they received, and learning as a result of training, including the extent to which
       trainees are applying the knowledge and skills acquired in training to their jobs.

295    BPD, pursuant to the Training Plan and in consultation with the Monitor and DOJ, will               4c



                                                     75
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 80 of 106



      review all training curricula and lesson plans for consistency, quality, and compliance      (Implementation
      with applicable law, BPD policy, and this Agreement. BPD will ensure that best                 – On Track)
      practices in adult learning, scenario-based training, and problem-solving practices, in
      addition to traditional lecture formats, are incorporated into training delivery. BPD will
      advise the Monitor and DOJ regarding training that can be delivered in roll-call or
      online, or in large class formats, as opposed to training that will require more intensive
      delivery. BPD will also assess instructor qualifications and testing materials.

296   BPD will ensure that all instructors responsible for training are proficient in their              4c
      subject matter and are qualified, including, as applicable, previous instructor              (Implementation
      experience, training in instruction and adult learning techniques, and instruction skills.     – On Track)
      In addition, BPD will consider an officer’s performance evaluations, past performance
      as a police officer, and disciplinary history in selecting instructors.

297   BPD will actively seek out and retain qualified instructors from outside BPD to                   4d
      supplement the skills of its in-house training staff and adjunct instructors. As                (Initial
      appropriate, BPD will incorporate experts, community-based instructors, and guest             Compliance)
      speakers, including mental health service providers and consumers, judges,
      prosecutors, crime victims, academics in the field of criminal justice, community
      resource providers, and community members, including Youth, to participate in
      relevant courses

298   Where necessary to comply with this Agreement, BPD will develop or adopt                          4d
      supplemental basic training and in-service training curricula and lesson plans. All new         (Initial
      curricula and lesson plans will be reviewed and approved by the Monitor and DOJ               Compliance)
      prior to implementation. Any training required by this Agreement that is conducted by
      an outside instructor or non-BPD entity will be reviewed and approved by the Monitor
      and DOJ prior to implementation. Approval of curricula and lesson plans submitted to
      the Monitor and DOJ will not be unreasonably withheld and will be deemed granted if
      there has been no substantive response within 30 days. Notification that either the
      Monitor or DOJ will review the training and provide commentary, or similar, shall be
      deemed a substantive response.

299   BPD will review and update BPD’s Training Plan on a periodic basis. To inform these                4c
      updates, BPD will conduct a needs assessment, taking into consideration: trainee-to-         (Implementation
      instructor ratios; trainee feedback and evaluations of trainings; trends in misconduct         – On Track)
      complaints; problematic uses of force; data concerning stops, searches and arrests;
      analysis of officer safety issues; and changes in the law or BPD policy.

300   In order to ensure that all trainings are adequately documented, BPD will develop and             4d
      implement a training data tracking system in consultation with the Monitor and DOJ.             (Initial
      The training data tracking system will include a central and comprehensive database           Compliance)
      containing information on trainings attended by each officer, including in-service
      training and remedial training. The data tracking system will include information on



                                                    76
Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 81 of 106



which officers require trainings, and class attendance, including missed classes. The
data tracking system will additionally include performance data and trainees’ results on
any tests or scored evaluations. The system will be readily available to supervisors
throughout the Department to facilitate their supervisory duties. BPD will ensure that
adequate resources are provided to maintain the system up to date and review the data
contained therein.




                                             77
               Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 82 of 106



APPENDIX A.   BUDGETS FOR BPD E&T, FISCAL YEARS 2018 THROUGH 2022
Source: BPD




                                               78
    Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 83 of 106



APPENDIX B.        TRAINING FEEDBACK RUBRIC


                      Training Feedback Rubric

  Instructor’s Name: _______________________________________         Date: _____________

  Module Day/Title: ___________________________________________________________

  Evaluator’s Name: ___________________________________________________________




     Rate the instructor in all categories using the following 4-point scale


                      Extremely effective performance that is above criteria for
     4=Excellent      successful instructor performance; Surpasses expectations; Meets
                      all major/essential/core criteria or acceptable equivalents
                      More than adequate for effective instructor performance; generally
                      exceeds criteria relative to quality and quantity of behavior
      3=Good          required for an instructor; No major deficiencies exist in the areas
                      assessed; Consistently demonstrated better than average level of
                      performance
                      Should be adequate for effective instructor performance; Meets
                      some criteria relative to quality and quantity of behavior required;
       2=Fair         Meets a few of the major/essential/core criteria; Demonstrates a
                      bare minimum range of skills for handling the situation and the
                      desired outcome is obtained; Some of the major and minor criteria
                      were met; some deficiencies exist in the areas assessed
                      Insufficient for performance requirements; Generally does not
                      meet criteria relative to quality and quantity of behavior required
                      for successful instructor performance (e.g. meets half or less of
       1=Poor         criteria); Does not demonstrate a sufficient range of skills
                      appropriate for handling of the situation, or displays plausible but
                      inappropriate behaviors for handling the instructional situation; or
                      the desired result or outcome is not obtained.
                      Significantly below criteria required for successful instructor
                      performance; Few or no criteria met; Many deficiencies; A major


                                          79
   Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 84 of 106



0=Not Demonstrated    problem exists; Describes/demonstrates counter-productive
                      behaviors that have negative outcomes or consequences for the
                      students




Category #                              Category                                 Rating
                                      Introduction
             Introduces self (name, agency, background, background with
    1
             topic)
    2        Shares overview of topic
    3        Lesson objectives are clearly stated
                                                   Section Subtotal ____/12
                                  Class Presentation
    4        Attire (dress code appropriate for this instructional situation)
    5        Confidence in topic knowledge
    6        Uses eye contact
    7        Uses appropriate verbal and nonverbal language
    8        Uses voice effectively (volume, rate, inflection, etc.)
    9        Minimal distracters (um’s, ok’s, pacing, etc.)
                                                      Section Subtotal ____/24
                                      Presentation
             Lesson plan is followed (timing, order of activities, discussion
    10
             questions)
             Demonstrates sufficient knowledge of the lesson plan content
    11       (did not require reading directly from the lesson plan during
             delivery)
             Demonstrates confidence throughout the delivery of the lesson
    12
             (delivery of material was organic; not mechanical)
             Clarity of explanation, breaks content down to clarify a point or
    13
             correct misunderstanding
    14       Maintains atmosphere of mutual respect
    15       Utilizes instructional methods provided in lesson plan
    16       Uses training aids as appropriate to the lesson
    17       Questions are utilized as outlined in the lesson plan
    18       Performs comprehension checks
    19       Manages class time efficiently



                                           80
    Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 85 of 106



               Administers the desired evaluation/closure of the lesson as
     20
               outlined in the lesson plan
                                                      Section Subtotal ____/44
                                                                   Total ____/80

            (Explanation(s) must be provided for any score less than 4)

Evaluator’s Notes:

 Category
    #                                            Feedback




                                            81
Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 86 of 106




                                82
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 87 of 106



APPENDIX C.               BPD OFFICER TRAINING EVALUATIONS, MAJOR CONSENT
                          DECREE TRAINING THROUGH DECEMBER 2021

I.      USE OF FORCE TRAINING ASSESSMENT

Classroom training for use of force was provided in three modules with performance assessments
focused on each module. Performance assessment data for the first module of use of force training
is available for 2,170 members of BPD (Tables A-1 to A-3). Overall, officers’ first attempt exam
scores were high, averaging 92.1% across all ranks, with higher ranks scoring higher. Final scores
ranged between 60 and 100%, with 96.9% of officers scoring 100%. Members with the rank of
Police Officer had the highest number of attempts to achieve a suitable final score (median of 2
attempts) with those in higher ranks needing fewer attempts. Tables A-4 to A-6 summarize data
for the module 2 use of force training and Tables A-7 to A-9 summarize data for module 3 use of
force training. These modules show similar trends to module 1. Officers score high upon first
attempt overall, achieve near perfect scores with final scores and show higher scores and fewer
attempts in higher ranks.

Table A-1.        UOF MOD 1 First Attempt Scores by Job Title
                    Number           Mean First           Median First        Mode First          Score Range
                                     Attempt Score        Attempt Score       Attempt Score
 Police Officer     1,670            91.5                 90                  100 (44.0%)         20 - 100
                    (77.0%)
 Police             339              93.7                 100                 100 (55.8%)         0 - 100
 Sergeant           (15.6%)
 Police             126 (5.8%)       94.5                 100                 100 (59.5%)         50 - 100
 Lieutenant or
 Captain
 Police Major       29 (1.3%)        94.8                 100                 100 (55.2%)         80 - 100
 and Higher
 Rank
 Overall            2,170            92.1                 90                  100 (46.9%)         0 - 100
                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-2.        UOF MOD 1 Final Attempt Scores by Job Title
                    Number           Mean Final           Median Final        Mode Final          Score Range
                                     Attempt Score        Attempt Score       Attempt Score
 Police Officer     1,670            99.5                 100                 100 (96.7%)         60 - 100
                    (77.0%)
 Police             339              99.6                 100                 100 (97.6%)         80 - 100
 Sergeant           (15.6%)



                                                        83
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 88 of 106



 Police             126 (5.8%)       99.8                 100                 100 (97.6%)         90 - 100
 Lieutenant or
 Captain
 Police Major       29 (1.3%)        100                  100                 100 (100%)          100 - 100
 and Higher
 Rank
 Overall            2,170            99.5                 100                 100 (96.9%)         60 - 100
                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-3.        UOF MOD 1 Number of Exam Attempts by Job Title
                    Number           Mean Number          Median              Mode Number         Range of
                                     of Attempts          Number of           of Attempts         Number of
                                                          Attempts                                Attempts
 Police Officer     1,670            1.7                  2                   1 (43.8%)           1-6
                    (77.0%)
 Police             339              1.6                  1                   1 (54.9%)           1-4
 Sergeant           (15.6%)
 Police             126 (5.8%)       1.5                  1                   1 (59.5%)           1-4
 Lieutenant or
 Captain
 Police Major       29 (1.3%)        1.4                  1                   1 (55.2%)           1-2
 and Higher
 Rank
 Overall            2,170            1.7                  2                   1 (46.6%)           1-6
                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-4.        UOF MOD 2 First Attempt Scores by Job Title
                    Number           Mean First           Median First        Mode First          Score Range
                                     Attempt Score        Attempt Score       Attempt Score
 Police Officer     1,671            89.6                 90                  100 (40.6%)         0 - 100
                    (77.0%)
 Police             339              93.6                 100                 100 (58.7%)         0 - 100
 Sergeant           (15.6%)
 Police             126              95.0                 100                 100 (66.7%)         30 - 100
 Lieutenant or      (5.8%)
 Captain
 Police Major       29               96.2                 100                 100 (69.0%)         80 - 100
 and Higher         (1.3%)
 Rank
 Overall            2,171            90.6                 90                  100 (45.3%)         0 - 100


                                                        84
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 89 of 106



                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-5.        UOF MOD 2 Final Attempt Scores by Job Title
                    Number           Mean Final           Median Final        Mode Final          Score Range
                                     Attempt Score        Attempt Score       Attempt Score
 Police Officer     1,671            98.6                 100                 100 (92.2%)         0 -100
                    (77.0%)
 Police             339              99.6                 100                 100 (97.1%)         80 - 100
 Sergeant           (15.6%)
 Police             126              99.5                 100                 100 (96.8%)         80 - 100
 Lieutenant or      (5.8%)
 Captain
 Police Major       29               100                  100                 100 (100%)          100 - 100
 and Higher         (1.3%)
 Rank
 Overall            2,171            98.8                 100                 100 (93.3%)         0 - 100
                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-6.        UOF MOD 2 Number of Exam Attempts by Job Title
                    Number           Mean Number          Median              Mode Number         Range of
                                     of Attempts          Number of           of Attempts         Number of
                                                          Attempts                                Attempts
 Police Officer     1,671            1.9                  2                   1 (40.2%)           1-5
                    (77.0%)
 Police             339              1.5                  1                   1 (58.4%)           1-4
 Sergeant           (15.6%)
 Police             126              1.5                  1                   1 (66.7%)           1-4
 Lieutenant or      (5.8%)
 Captain
 Police Major       29               1.4                  1                   1 (69.0%)           1-3
 and Higher         (1.3%)
 Rank
 Overall            2,171            1.8                  2                   1 (45.0%)           1-5
                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-7.        UOF MOD 3 First Attempt Scores by Job Title
                    Number           Mean First           Median First        Mode First          Score Range
                                     Attempt Score        Attempt Score       Attempt Score


                                                        85
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 90 of 106



 Police Officer     1,667            95.1                 100                 100 (63.7%)         0 - 100
                    (76.9%)
 Police             339 (15.6%)      97.3                 100                 100 (76.4%)         50 - 100
 Sergeant
 Police             126 (5.8%)       97.7                 100                 100 (77.8)          80 -100
 Lieutenant or
 Captain
 Police Major       29 (1.3%)        96.6                 100                 100 (69.0%)         80 - 100
 and Higher
 Rank
 Overall            2,167            95.6                 100                 100 (66.6%)         0 - 100
                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-8.        UOF MOD 3 Final Attempt Scores by Job Title
                    Number           Mean Final           Median Final        Mode Final          Score Range
                                     Attempt Score        Attempt Score       Attempt Score
 Police Officer     1,667            99.7                 100                 100 (98.0%)         40 - 100
                    (76.9%)
 Police             339 (15.6%)      99.9                 100                 100 (99.4%)         80 - 100
 Sergeant
 Police             126 (5.8%)       99.9                 100                 100 (99.2%)         90 - 100
 Lieutenant or
 Captain
 Police Major       29 (1.3%)        100                  100                 100 (100.0%)        100 - 100
 and Higher
 Rank
 Overall            2,167            99.8                 100                 100 (98.3%)         40 - 100
                    (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

Table A-9.        UOF MOD 3 Number of Exam Attempts by Job Title
                    Number           Mean Number          Median              Mode Number         Range of
                                     of Attempts          Number of           of Attempts         Number of
                                                          Attempts                                Attempts
 Police Officer     1,667            1.5                  1                   1 (63.5%)           1-4
                    (76.9%)
 Police             339 (15.6%)      1.3                  1                   1 (75.5%)           1-4
 Sergeant
 Police             126 (5.8%)       1.3                  1                   1 (77.8%)           1-3
 Lieutenant or
 Captain


                                                        86
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 91 of 106



 Police Major        29 (1.3%)         1.4                  1                    1 (69.0%)            1-3
 and Higher
 Rank
 Overall             2,167             1.4                  1                    1 (66.4%)            1-4
                     (100.0%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.


II.      COMMUNITY POLICING TRAINING ASSESSMENT

Tables A-10 to A-12 summarize information by rank for first attempt scores, final attempt, and the
number of times the Community Policing Training assessment was taken. Overall, officers scored
an average of 89.7% on their first attempt of the assessment, with higher scores achieved in higher
ranks. All members of BPD achieved a score of 100% for their final assessment score, averaging
two attempts to achieve 100%.

Table A-10.       Community Policing Exam First Attempt Scores by Job Title
                     Number            Mean First           Median First         Mode First           Score Range
                                       Attempt Score        Attempt Score        Attempt Score
 Police Officer      1,586             89.1                 93                   100 (30.2%)          0 - 100
                     (76.9%)
 Police              326 (15.8%)       91.5                 93                   100 (37.4%)          0 - 100
 Sergeant
 Police              122 (5.9%)        92.1                 93                   100 (41.8%)          60 - 100
 Lieutenant or
 Captain
 Police Major        26 (1.3%)         92.1                 93                   100 (42.3%)          66 - 100
 and Higher
 Rank
 Overall             2,062             89.7                 93                   100 (32.2%)          0 - 100
                     (100.0%)
Notes: Overall includes two individuals with non-rank job titles such as: Director and Police Officer Trainee or Cadet.

Table A-11.       Community Policing Exam Final Attempt Scores by Job Title
                     Number            Mean Final           Median Final         Mode Final           Score Range
                                       Attempt Score        Attempt Score        Attempt Score
 Overall             2,062             100                  100                  100 (100.0%)         100 - 100
Notes: No variation by job title because everyone scored 100 on the final attempt. This includes two individuals with
non-rank job titles such as: Director and Police Officer Trainee or Cadet.

Table A-12.       Community Policing Exam Number of Exam Attempts by Job Title
                     Number            Mean Number          Median               Mode Number          Range of
                                       of Attempts          Number of            of Attempts          Number of


                                                         87
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 92 of 106



                                                            Attempts                                  Attempts
 Police Officer      1,586             2.2                  2                    2 (39.2%)            1 - 15
                     (76.9%)
 Police              326 (15.8%)       2.0                  2                    2 (41.1%)            1 - 10
 Sergeant
 Police              122 (5.9%)        1.8                  2                    2 (44.3%)            1-4
 Lieutenant or
 Captain
 Police Major        26 (1.3%)         2.0                  2                    1 (42.3%)            1-4
 and Higher
 Rank
 Overall             2,062             2.2                  2                    2 (39.7%)            1 - 15
                     (100.0%)
Notes: Overall includes two individuals with non-rank job titles such as: Director and Police Officer Trainee or Cadet.

III.     STOP, SEARCH, AND ARREST ASSESSMENTS

The Stop, Search, and Arrest Training was provided over two days with assessments summarized
for both days. Tables A-13 to A-15 provide information by rank for the first exam attempt, final
attempt, and number of attempts for the first day assessment of Stop, Search, and Arrest training.
Tables 14-16 provide information for day 2.

First attempt scores for both days averaged near 90% (91.3% for day 1 and 89.7% for day 2), with
higher ranks achieving higher first attempt scores on average. It took an average of two attempts
for officers to obtain 100% as a final assessment score among all ranks for both days of training.

Table A-13.       SSA Day 1 First Attempt Scores by Job Title
                     Number            Mean First           Median First         Mode First           Score Range
                                       Attempt Score        Attempt Score        Attempt Score
 Police Officer      1,536             90.88                90                   90 (39.5%)           30 - 100
                     (76.0%)
 Police              330 (16.4%)       91.94                90                   90 (42.4%)           70 - 100
 Sergeant
 Police              124 (6.1%)        94.44                100                  100 (53.2%)          80 - 100
 Lieutenant or
 Captain
 Police Major        29 (1.4%)         93.45                90                   100 (48.3%)          80 - 100
 and Higher
 Rank
 Overall             2,020             91.31                90                   90 (39.9%)           30 - 100
                     (100%)
Notes: Overall includes one individual with the rank of Police Officer Trainee or Cadet.




                                                         88
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 93 of 106



Table A-14.       SSA Day 1 Final Attempt Scores by Job Title
                    Number            Mean Final          Median Final         Mode Final        Score Range
                                      Attempt Score       Attempt Score        Attempt Score
 Overall            2,020             100                 100                  100 (100%)        100 - 100
                    (100%)
Notes: No variation by job title because everyone scored 100 on the final attempt. Overall includes one individual
with the rank of Police Officer Trainee or Cadet.

Table A-15.       SSA Day 1 Number of Exam Attempts by Job Title
                    Number            Mean Number         Median               Mode Number       Range of
                                      of Attempts         Number of            of Attempts       Number of
                                                          Attempts                               Attempts
 Police Officer     1,536             2.04                2                    2 (40.8%)         1 -14
                    (76.0%)
 Police             330 (16.4%)       2.02                2                    1 (39.1%)         1-8
 Sergeant
 Police             124 (6.1%)        1.69                1                    1 (53.2%)         1-6
 Lieutenant or
 Captain
 Police Major       29 (1.4%)         1.59                2                    1 (48.3%)         1-3
 and Higher
 Rank
 Overall            2,020             2.01                2                    2 (40.0%)         1 - 14
                    (100%)
Notes: Overall includes one individual with the rank of Police Officer Trainee or Cadet.


Table A-16.       SSA Day 2 First Attempt Scores by Job Title
                    Number            Mean First          Median First         Mode First        Score Range
                                      Attempt Score       Attempt Score        Attempt Score
 Police Officer     1,533             89.07               90                   90 (42.9%)        0 - 100
                    (76.0%)
 Police             330 (16.4%)       91.33               90                   90 (41.2%)        60 - 100
 Sergeant
 Police             124 (6.1%)        91.61               90                   90 (43.5%)        70 - 100
 Lieutenant or
 Captain
 Police Major       29 (1.4%)         93.45               100                  100 (51.7%)       80 - 100
 and Higher
 Rank
 Overall            2,020             89.66               90                   90 (42.5%)        0 - 100
                    (100%)
Notes: Overall includes one individual with the rank of Police Officer Trainee or Cadet.




                                                        89
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 94 of 106



Table A-17.       SSA Day 2 Final Attempt Scores by Job Title
                    Number            Mean Final          Median Final         Mode Final        Score Range
                                      Attempt Score       Attempt Score        Attempt Score
 Overall            2,020             100                 100                  100 (100%)        0 - 100
                    (100%)
Notes: No variation by job title because everyone scored 100 on the final attempt. Overall includes one individual
with the rank of Police Officer Trainee or Cadet.

Table A-18.       SSA Day 2 Number of Exam Attempts by Job Title
                    Number            Mean Number         Median               Mode Number       Range of
                                      of Attempts         Number of            of Attempts       Number of
                                                          Attempts                               Attempts
 Police Officer     1,533             2.32                2                    2 (39.0%)         1 - 14
                    (76.0%)
 Police             330 (16.4%)       2.18                2                    1 (37.6%)         1-9
 Sergeant
 Police             124 (6.1%)        1.98                2                    2 (39.5%)         1-7
 Lieutenant or
 Captain
 Police Major       29 (1.4%)         1.76                1                    1 (51.7%)         1-5
 and Higher
 Rank
 Overall            2,020             2.27                2                    2 (38.0%)         1 - 14
                    (100%)
Notes: Overall includes one individual with the rank of Police Officer Trainee or Cadet.


IV.       BEHAVIORAL HEALTH AND SEXUAL ASSAULT TRAINING ASSESSMENT

Assessment information for Behavioral Health and Sexual Assault training is summarized in
Tables A-19 to A-21. Based on information from 1,992 officers, the average first attempt on the
assessment achieved a score of 89%, with final attempt scores averaging 99.7% with a range of 75
to 100% across all ranks. It took officers up to 16 attempts to achieve their final score, with a
median of three attempts across all ranks. Those in higher ranks took fewer attempts to achieve
their final assessment score.

Table A-19.       Behavioral Health/Sexual Assault Investigations Training First Attempt
                  Scores by Job Title
                    Number            Mean First          Median First         Mode First        Score Range
                                      Attempt Score       Attempt Score        Attempt Score
 Police Officer     1,513             88.43               90                   90 (28.4%)        20 - 100
                    (76.0%)
 Police             328 (16.5%)       90.95               90                   90 (33.5%)        70 - 100



                                                        90
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 95 of 106



 Sergeant
 Police             123 (6.2%)        90.12               90                   90 (27.6%)      75 - 100
 Lieutenant or
 Captain
 Police Major       27 (1.4%)         90.74               90                   90 (40.7%)      80 - 100
 and Higher
 Rank
 Overall            1,992             88.97               90                   90 (29.4%)      20 - 100
                    (100%)
Notes: Overall includes one individual with the rank of Police Officer Trainee or Cadet.


Table A-20.       Behavioral Health/Sexual Assault Investigations Training Final Attempt
                  Scores by Job Title
                    Number            Mean Final          Median Final         Mode Final      Score Range
                                      Attempt Score       Attempt Score        Attempt Score
 Police Officer     1,513             99.73               100                  100 (98.0%)     75 - 100
                    (76.0%)
 Police             328 (16.5%)       99.77               100                  100 (98.5%)     80 - 100
 Sergeant
 Police             123 (6.2%)        99.92               100                  100 (99.2%)     90 - 100
 Lieutenant or
 Captain
 Police Major       27 (1.4%)         99.63               100                  100 (96.3%)     90 - 100
 and Higher
 Rank
 Overall            1,992             99.74               100                  100 (98.1)      75 - 100
                    (100%)
Notes: Overall includes one individual with the rank of Police Officer Trainee or Cadet.


Table A-21.       Behavioral Health/Sexual Assault Investigations Training Number of Exam
                  Attempts by Job Title
                    Number            Mean Number         Median               Mode Number     Range of
                                      of Attempts         Number of            of Attempts     Number of
                                                          Attempts                             Attempts
 Police Officer     1,513             2.89                3                    2 (29.1%)       1 - 16
                    (76.0%)
 Police             328 (16.5%)       2.73                2                    2 (27.2%)       1 - 11
 Sergeant
 Police             123 (6.2%)        2.94                2                    2 (30.1%)       1 - 13
 Lieutenant or
 Captain
 Police Major       27 (1.4%)         2.81                2                    2 (40.7%)       1-9
 and Higher


                                                        91
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 96 of 106



 Rank
 Overall            1,992             2.87                3                    2 (29.1%)          1 - 16
                    (100%)
Notes: Overall includes one individual with the rank of Police Officer Trainee or Cadet.


V.      ETHICAL POLICING IS COURAGEOUS TRAINING ASSESSMENT

The Ethical Policing Is Courageous (EPIC) training assessment is summarized in Tables A-22 to
A-24 based on exams completed by 2,097 officers. Overall, officers averaged a first attempt score
of 86.8%, with those at the rank of Major or higher scoring highest (88.5%). Final scores were
nearly perfect, with only a small number of officers at the rank of Officer scoring below 100%
(but above 80%). Officers took up to 11 attempts to achieve their final score, averaging 2 attempts
across all ranks in the Department.

Table A-22.       EPIC First Attempt Scores by Job Title
                    Number            Mean First          Median First         Mode First         Score Range
                                      Attempt Score       Attempt Score        Attempt Score
 Police Officer     1,612             86.45               90                   90 (31.5%)         40 - 100
                    (76.9%)
 Police             329 (15.7%)       88.02               90                   100 (32.2%)        50 – 100
 Sergeant
 Police             123 (5.9%)        88.05               90                   90 (37.4%)         60 - 100
 Lieutenant or
 Captain
 Police Major       27 (1.3%)         88.52               90                   90 (55.6%)         70 - 100
 and Higher
 Rank
 Overall            2,097             86.80               90                   90 (32.1%)         40 - 100
                    (100%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

     Table A-23.          EPIC Final Attempt Scores by Job Title
                    Number            Mean Final          Median Final         Mode Final         Score Range
                                      Attempt Score       Attempt Score        Attempt Score
 Police Officer     1,612             99.99               100                  100 (99.9%)        80 - 100
                    (76.9%)
 Police             329 (15.7%)       100                 100                  100 (100%)         100 - 100
 Sergeant
 Police             123 (5.9%)        100                 100                  100 (100%)         100 - 100
 Lieutenant or
 Captain



                                                        92
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 97 of 106



 Police Major       27 (1.3%)        100                  100                 100 (100%)          100 - 100
 and Higher
 Rank
 Overall            2,097            99.99                100                 100 (100%)          80 – 100
                    (100%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.

    Table A-24.           EPIC Number of Exam Attempts by Job Title
                    Number           Mean Number          Median              Mode Number         Range of
                                     of Attempts          Number of           of Attempts         Number of
                                                          Attempts                                Attempts
 Police Officer     1,612            2                    2                   2 (54.5%)           1-9
                    (76.9%)
 Police             329 (15.7%)      1.96                 2                   2 (48.0%)           1-6
 Sergeant
 Police             123 (5.9%)       2.04                 2                   2 (49.6%)           1 - 11
 Lieutenant or
 Captain
 Police Major       27 (1.3%)        2.04                 2                   2 (63.0%)           1-4
 and Higher
 Rank
 Overall            2,097            2                    2                   2 (53.3%)           1 - 11
                    (100%)
Notes: Overall includes six individuals with non-rank job titles such as: Director, Contract Specialist, Compliance
Manager, and Police Officer Trainee or Cadet.




                                                        93
      Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 98 of 106



APPENDIX D.              HIGHLIGHTS OF STUDENT OFFICER SURVEY DATA TABLES
                         BY SURVEY

I.      USE OF FORCE/FAIR & IMPARTIAL POLICING I TRAINING SURVEY (DAY
        1)

Table A-25.       Use of Force/FIP I Training: Usefulness of the Course on Likert scale 1 – 4
                  (4 = best rating)
 Job Title             Number of    Average          Median           Most Frequent    Missing
                       Surveys      Response         Response         Response         Response
                                    (mean)                            (mode)           Number
 Police Officer        1,277        3.5              4                4 (55.6%)        3 (0.2%)
                       (72.6%)
 Police Sergeant       329          3.5              4                4 (55.3%)        0
                       (18.7%)
 Police Lieutenant     122 (6.9%)   3.4              3                4 (48.8%)        1 (0.8%)
 or Captain
 Police Major and      29 (1.6%)    3.6              4                4 (65.5%)        0
 Higher Rank
 Police Officer        1 (0.06%)    4                4                4 (100.0%)       0
 Trainee or Cadet
 Other Staff           1 (0.06%)    4                4                4 (100.0%)       0
 Overall               1,759        3.5              4                4 (55.3%)        4 (0.2%)
                       (100.0%)

Table A-26.       Use of Force/FIP I Training: Selection of All Answers That Apply: This
                  Course . . . (Percentage of Officers Agreeing with Statement)
                                     Police      Sergeant       Lt./Captain Major or       Overall
                                     Officer                                Higher
 Clearly explained policy updates    996         244            88          25             1,354
 relating to uses of force           (78.0%)     (74.2%)        (72.1%)     (86.2%)        (77.0%)
 Helped me to explain how uses of    901         238            79          24             1,243
 force relate to police legitimacy.  (70.6%)     (72.3%)        (64.8%)     (82.8%)        (70.1%)
 Increased my confidence in applying 822         211            76          24             1,135
 de-escalation skills in the field.  (64.4%)     (64.1%)        (62.3%)     (82.8%)        (64.5%)
 Helped me to explain how the        867         227            80          26             1,201
 critical decision making model      (67.9%)     (69.0%)        (65.6%)     (89.7%)        (68.3%)
 promotes member actions that
 uphold the Department’s core
 values.
 The “Red Man” use of force          885         226            82          23             1,217
 scenario challenged me to think     (69.3%)     (68.7%)        (67.2%)     (79.3%)        (69.2%)



                                                94
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 99 of 106



 critically and to apply new use of
 force policy to a realistic situation.
 Number of Surveys                           1,277        329      122                 29               1,759
                                             (100.0%)     (100.0%) (100.0%)            (100.0%)         (100.0%)
Notes: One Officer Trainee and one Other Staff are included in the overall total but not listed in individual columns.


Table A-27.       Use of Force/FIP I Training: Selection of Course Topics Found Useful
                                             Police        Sergeant Lt./Captain Major or                Overall
                                             Officer                            Higher
 Use of Force and Police Legitimacy          896           232      84          26                      1,239
                                             (70.2%)       (70.5%) (68.9%)      (89.7%)                 (70.4%)
 Use of Force Policy 1115 Updates            970           263      99          27                      1,361
                                             (76.0%)       (80.0%) (81.1%)      (93.1%)                 (77.4%)
 De-escalation                               954           257      92          26                      1,330
                                             (74.8%)       (78.1%) (75.4%)      (89.7%)                 (75.6%)
 Critical Decision Making Module             874           238      82          29                      1,224
                                             (68.4%)       (72.3%) (67.2%)      (100.0%)                (69.6%)
 Baton Re-certification Training             765           218      84          25                      1,093
                                             (60.0%)       (66.3%) (68.9%)      (86.2%)                 (62.1%)
 Live Use of Force Scenario                  1,005         285      101         27                      1,419
                                             (78.7%)       (86.6%) (82.8%)      (93.1%)                 (80.7%)
 Number of Surveys                           1,277         329      122         29                      1,759
                                             (100.0%)      (100.0%) (100.0%)    (100.0%)                (100.0%)
Notes: The question prompt was, “Please select all of the course topics you found useful.” One Officer Trainee and
one Other Staff are included in the overall total but not listed in individual columns.

II.      COMMUNITY POLICING TRAINING SURVEY

A.       Pre-Survey Results

A total of 1,437 users gave their consent to complete a pre-survey for the Community Policing
Training. A total of 489 pre-surveys were excluded because they were completed on the same
date as the post-survey. Those surveys were excluded and the table below represents information
from 948 users that took the pre-survey on the first day of training. Not all users answered all
questions. By job title, most respondents were Police Officers (78.8%), followed by Sergeants
(15.1%), Lieutenants or Captains (5.2%), and those with the rank of Major or higher (0.8%). There
was one respondent with the job title “Compliance Manager.”

Table A-28: Community Policing Training: Pre-Survey: Question Responses from
            Strongly Disagree (1) to Strongly Agree (5)
 Question                                            Number of        Mean          Median        Mode Response
                                                     Responses        Response      Response



                                                         95
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 100 of 106



 2. I feel prepared to engage in community       935         4.2        4-Agree     4-Agree
 policing.                                       (98.6%)                            (43.7%)
 4. I understand how social conditions, such     933         4.2        4-Agree     4-Agree & 5-
 as racism and red lining, have impacted         (98.4%)                            Strongly Agree
 Black people in Baltimore.                                                         (42.2% each)
 6. I understand my role in BPD’s                931         4.2        4-Agree     4-Agree
 community policing plan.                        (98.2%)                            (46.3%)
 8. I am prepared to engage with the             933         4.3        4-Agree     4-Agree
 community informally.                           (98.4%)                            (47.6%)
 10. I understand how to engage in daily         933         4.3        4-Agree     4-Agree
 problem solving, such as solving small          (98.4%)                            (46.6%)
 problems, conflict, or issues, while on duty.
 12. It is clear to me what constitutes a        933         4.1        4-Agree     4-Agree
 “lesser” offense in Baltimore.                  (98.4%)                            (48.0%)
 14. I understand how to problem-solve for       932         4.1        4-Agree     4-Agree
 policing lesser offenses.                       (98.3%)                            (45.9%)
 16. As a member of BPD, I understand how        932         4.2        4-Agree     4-Agree
 I can formally engage with vulnerable           (98.3%)                            (47.1%)
 populations, such as youth, LGBTQ people,
 those experiencing homelessness, and those
 living with a mental illness or substance use
 disorder.
 18. I understand how to apply the SARA          918         4.0        4-Agree     4-Agree
 Model as part of my role in successfully        (96.8%)                            (44.2%)
 implementing BPD’s community policing
 program.
 20. I know how to document my community         908         4.0        4-Agree     4-Agree
 policing activities in CAD.                     (95.8%)                            (39.1%)

B.     Post-Survey Results

A total of 1,377 users gave consent to complete a post-survey for the Community Policing
Training. Most of the respondents were Police Officers (76.4%), followed by Sergeants (15.5%),
Lieutenants or Captains (6.5%), and Major or higher rank (1.5%). There was one Trainee and one
Compliance Manager as well.

Table A-29: Community Policing Training: Post-Survey: Question Responses from
            Strongly Disagree (1) to Strongly Agree (5)
 Question                                        Number of   Mean        Median      Mode
                                                 Responses   Response    Response    Response
 2. I feel prepared to engage in community       1,365       4.3         4-Agree     5-Strongly
 policing.                                       (99.1%)                             Agree (46.0%)
 4. I understand how social conditions, such     1,365       4.3         4-Agree     5-Strongly


                                                   96
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 101 of 106



 as racism and red lining, have impacted         (99.1%)                         Agree (45.1%)
 Black people in Baltimore.
 6. I understand my role in BPD’s                1,363     4.3        4-Agree    4-Agree
 community policing plan.                        (99.0%)                         (44.8%)
 8. I am prepared to engage with the             1,361     4.3        4-Agree    4-Agree
 community informally.                           (98.8%)                         (45.1%)
 10. I understand how to engage in daily         1,360     4.3        4-Agree    4-Agree
 problem solving, such as solving small                                          (46.8%)
 problems, conflict, or issues, while on duty.
 12. It is clear to me what constitutes a        1,361     4.3        4-Agree    4-Agree
 “lesser” offense in Baltimore.                  (98.8%)                         (46.1%)
 14. I understand how to problem-solve for       1,359     4.3        4-Agree    4-Agree
 policing lesser offenses.                       (98.7%)                         (48.1%)
 16. As a member of BPD, I understand how        1,359     4.3        4-Agree    4-Agree
 I can formally engage with vulnerable           (98.7%)                         (47.8%)
 populations, such as youth, LGBTQ people,
 those experiencing homelessness, and those
 living with a mental illness or substance use
 disorder.
 18. I understand how to apply the SARA          1,352     4.1        4-Agree    4-Agree
 Model as part of my role in successfully        (98.2%)                         (46.5%)
 implementing BPD’s community policing
 program.
 20. I know how to document my community         1,354     4.1        4-Agree    4-Agree
 policing activities in CAD.                     (98.3%)                         (42.1%)
 24. The exercises in the training were          1,352     4.2        4-Agree    4-Agree
 effective for demonstrating and practicing      (98.2%)                         (47.7%)
 the concepts learned.
 26. As a result of this training, I feel        1,348     4.2        4-Agree    4-Agree
 confident in engaging in community              (97.9%)                         (46.1%)
 policing activities.

C.     Community Policing Survey Pre- and Post-Training Comparison

The pre and post surveys asked 10 substantive questions that were the same on both surveys. The
table below compares the mean responses for those questions to show group-based differences.
Generally, there appeared to be small improvement in understanding for most items, with slightly
larger gains in understanding what “lesser” offenses are and how to problem-solve for policing
lesser offenses. There was no group-level change in respondents’ answers to how well they
understand how to engage in daily problem solving or how prepared they are to engage with the
community informally.




                                                   97
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 102 of 106



Table A-30: Community Policing Training: Survey Pre/Post Comparison
 Question                                             Pre-Survey      Post-Survey     Difference
                                                      Mean Response   Mean Response
 2. I feel prepared to engage in community            4.2             4.3             +0.1
 policing.
 4. I understand how social conditions, such as       4.2             4.3             +0.1
 racism and red lining, have impacted Black
 people in Baltimore.
 6. I understand my role in BPD’s community           4.2             4.3             +0.1
 policing plan.
 8. I am prepared to engage with the community        4.3             4.3             No change
 informally.
 10. I understand how to engage in daily problem      4.3             4.3             No change
 solving, such as solving small problems, conflict,
 or issues, while on duty.
 12. It is clear to me what constitutes a “lesser”    4.1             4.3             +0.2
 offense in Baltimore.
 14. I understand how to problem-solve for            4.1             4.3             +0.2
 policing lesser offenses.
 16. As a member of BPD, I understand how I can       4.2             4.3             +0.1
 formally engage with vulnerable populations,
 such as youth, LGBTQ people, those experiencing
 homelessness, and those living with a mental
 illness or substance use disorder.
 18. I understand how to apply the SARA Model         4.0             4.1             +0.1
 as part of my role in successfully implementing
 BPD’s community policing program.
 20. I know how to document my community              4.0             4.1             +0.1
 policing activities in CAD.

III.    STOP, SEARCH, AND ARREST (SSA) TRAINING SURVEY

The SSA survey consisted total of five (5) questions: (1) three questions are measured on Likert
scale 1 -5, and (2) two questions are in qualitative nature/narrative responses.

A total of 1,955 users participated in a survey for the two-days long Stop, Search and Arrests
Training. Not all users answered all three quantitative questions. By job title, most respondents
were Police Officers (76.1%), followed by Sergeants (16.2%), Lieutenants or Captains (6%), and
those with the rank of Major or higher (1.4%). There was one respondent with the job title “Police
Officers Trainee or Cadet.”




                                                  98
    Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 103 of 106



Table A-31.   SSA Training: Based on these lessons, I know how to apply the SSA policies
              on Likert scale 1 – 5 (1=Strongly Disagree and 5 = Strongly Agree)
       Job Title           Number of      Average      Median          Most Frequent
                           Surveys        Response     Response        Response
                                          (mean)                       (mode)
       Police Officer      1,490          4.06         4               4 (47.5%)
                           (76.2%)
       Police Sergeant     317 (16.2%)    4.11         4               4 (50.8%)
       Police Lieutenant   119 (6.1%)     4.26         5               5 (50.4%)
       or Captain
       Police Major and    28 (1.4%)      4.39         5               5 (71.4%)
       Higher Rank
       Police Officer      1 (0.1%)       5            5               5 (100%)
       Trainee or Cadet
       Overall             1,955 (100%)   4.08         4               4 (46.9%)

Table A-31.   SSA Training: I feel confident to conduct stops in line with SSA policies and
              law on Likert scale 1 – 5 (1= Strongly Disagree and 5 = Strongly Agree)
       Job Title           Number of      Average      Median          Most Frequent
                           Surveys        Response     Response        Response
                                          (mean)                       (mode)
       Police Officer      1,474          4.06         4               4 (48.0%)
                           (76.1%)
       Police Sergeant     318 (16.4%)    4.04         4               4 (45.0%)
       Police Lieutenant   118 (6.1%)     4.23         4               5 (49.2%)
       or Captain
       Police Major and    27 (1.4%)      4.44         5               5 (77.8%)
       Higher Rank
       Police Officer      1 (0.1%)       5            5               5 (100%)
       Trainee or Cadet
       Overall             1,955 (100%)   4.07         4               4 (46.3%)

Table A-32.   SSA Training: These Lessons were engaging on Likert scale 1 – 5 (1=
              Strongly Disagree and 5 = Strongly Agree)
       Job Title           Number of      Average      Median          Most Frequent
                           Surveys        Response     Response        Response
                                          (mean)                       (mode)
       Police Officer      1,475          4.14         4               4 (41.5%)
                           (76.1%)
       Police Sergeant     318 (16.4%)    4.15         4               5 (43.1%)
       Police Lieutenant   117 (6.0%)     4.37         5               5 (60.7%)
       or Captain
       Police Major and    26 (1.3%)      4.35         5               5 (73.1%)


                                                 99
       Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 104 of 106



            Higher Rank
            Police Officer     1 (0.1%)       5              5               5 (100%)
            Trainee or Cadet
            Overall            1,937 (100%)   4.16           4               5 (43.3%)

 IV.        BEHAVIORAL HEALTH & SEXUAL ASSAULT INVESTIGATION TRAINING

 A total of 1,925 users participated in a survey for the Behavioral Health and Sexual Assault
 Training (“BHA” and “SA,” respectively). Each participant could select multiple answers from
 the multiple-choice questions.

 More than half of all participants selected the Behavioral and Health Policy Updates (53.6%) as
 the most useful topic in BHA training followed by the Mental Illness Overview (51.0%) and
 Scenario Discussion (49.3%). Only 33.2% of the participant found the Substance Use Disorder
 as most useful.

 Table A-33.      BHA/SA Training: Choose the(s) topics that you found most useful in BHA.
Job Title        Behavioral     Emergency     Mental       Scenario      Substance       Working with
                 Health         Petition      Illness      Discussions   Use             Person in
                 Policy                       Overview                   Disorder        Suicidal Crisis
                 Updates
Police Officer   808 (78.3%)    580 (79.7%) 749 (76.3%)    716 (75.4%)   484 (78.2%)     684 (76.3%)
Police           151 (14.6%)    105 (14.4%) 156 (15.9%)    154 (16.2%)   94 (15.2%)      146 (16.3%)
Sergeant
Police           60 (5.8%)      35 (4.8%)     63 (6.4%)    68 (7.2%)     34 (5.5%)       54 (6.0%)
Lieutenant or
Captain
Police Major     13 (1.3%)      8 (1.1%)      13 (1.3%)    10 (1.1%)     7 (1.1 %)       12 (1.3%)
and Higher
Rank
Police Officer   0              0             1 (0.1%)     1 (0.1%)      0               1 (0.1%)
Trainee or
Cadet
Overall          1,032          728 (100%)    982 (100%)   949 (100%)    619 (100%)      897 (1.3%)
                 (100%)

 In the SA section of the survey, the participants were more likely to select the Trauma Effect on
 Behavior as most useful topic (62.1% of the participant selected it), followed by the Being Trauma
 Informed (49.3%) and Patrol Officers Responsibilities Relating to Sexual Assault Investigations
 (47.4%). Less than 31% of participants found Survival Reflexes topic in SA training to be most
 useful.



                                                  100
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 105 of 106



Table A-34.       BHA/SA Training: Choose the(s) topics that you found most useful in Sexual
                  Assault Investigations
 Job Title         Being          Obstacles to     Overcoming    Patrol Officers    Survival     Trauma’s
                   Trauma         Effective        Challenges    responsibilities   Reflexes     Effect on
                   Informed       Victim           and           relating to                     Behavior
                                  Investigations   Barriers:     Sexual Assault
                                                   Establish a   Investigations
                                                   Rapport and
                                                   Trust
 Police Officer    722            583 (76.7%)      629 (76.8%)   728 (79.8%)        454          914 (76.4%)
                   (76.1%)                                                          (76.4%)
 Police            156            119 (15.7%)      126 (15.4%)   129 (14.1%)        91 (15.3%)   192 (16.1%)
 Sergeant          (16.4%)
 Police            56 (5.9%)      48 (6.3%)        51 (6.2%)     43 (4.7%)          39 (6.6%)    71 (5.9%)
 Lieutenant or
 Captain
 Police Major      14 (1.5%)      9 (1.2%)         12 (1.5%)     11 (1.2%)          9 (1.5%)     18 (1.5%)
 and Higher
 Rank
 Police Officer    1 (0.1%)       1 (0.1%)         1 (0.1%)      1 (0.1%)           1 (0.1%)     1 (0.1%)
 Trainee or
 Cadet
 Overall           949 (100%)     760 (100%)       819 (100%)    912 (100%)         594 (100%)   1,196 (100%)

Table A-35: BHA/SA Training: In general, how would you rate the facilitators' ability to
            deliver the instructional content in BHA?
 Job Title            Number of        Average            Median         Most Frequent     Missing
                      Surveys          Response           Response       Response          Response
                                       (mean)                            (mode)            Number
 Police Officer       1,453            4.72               5              5 (80.5%)         0
                      (75.8%)
 Police Sergeant      317 (16.5%)      4.60               5              5 (69.4%)         0
 Police Lieutenant    120 (6.3%)       4.63               5              5 (71.7%)         0
 or Captain
 Police Major and     25 (1.3%)        4.60               5              5 (72.0%)         0
 Higher Rank
 Police Officer       1 (0.1%)         5                  5                 5 (100%)       0
 Trainee or Cadet
 Overall              1,916 (100%)     4.70               5                 5 (78.0%)      0




                                                    101
     Case 1:17-cv-00099-JKB Document 488-2 Filed 02/15/22 Page 106 of 106



Table A-36: BHA/SA Training: In general, how would you rate the facilitators' ability to
            deliver the instructional content in Sexual Assault Investigations?
 Job Title           Number of      Average          Median     Most Frequent   Missing
                     Surveys        Response         Response   Response        Response
                                    (mean)                      (mode)          Number
 Police Officer      1,452          4.74             5          5 (81%)         0
                     (75.8%)
 Police Sergeant     317 (16.6%)    4.69             5          5 (75.1%)       0
 Police Lieutenant   120 (6.3%)     4.71             5          5 (77.5%)       0
 or Captain
 Police Major and    25 (1.3%)      4.68             5          5 (80.0%)       0
 Higher Rank
 Police Officer      1 (0.1%)       5                5          5(100%)         0
 Trainee or Cadet
 Overall             1,915 (100%)   4.73             5          5 (80.1%)       0




                                               102
